                    THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
                             AT KNOXVILLE

 ROBERT T. STOOKSBURY, JR.,                     )
                                                )
                       Plaintiff,               )
                                                )
 v.                                             :          No. 3:12-cv-548
                                                )
 MICHAEL L ROSS; LTR PROPERTIES, INC.;          )
 VPI COMPANY, LLC; TELLICO LAKE PROPERTIES, LP, )          JURY DEMAND
 RARITY BAY REALTY, INC., EVELYN W. ROSS,       )
 TED DOUKAS; ATHENA OF SC, LLC;                 )
 AMERICAN HARPER CORPORPORATION;                )
 AMERICAN HARPER CORPORATION, d/b/a             )
 RP CC MANAGEMENT COMPANY, and d/b/a            )
 RB CC MANAGEMENT COMPANY;                      )
 LIKOS OF TENNESSEE, INC.; RAPOSO REALTY, LLC; )
 BRETON EQUITY COMPANY CORP.; EFASTOS CORP.; )
 GISELLE TEIXEIRA, a/k/a GISELLE DOUKAS;        )
 REBECCA ROSE ROSS JORDAN;                      )
 RARITY MANAGEMENT COMPANY, LLC;                )
 PATRICIA ROSS, individually and as             )
 personal rep. of the Estate of Dale Ross;      )
 JAMES F. MACRI; TENNESSEE LAND AND LAKES, LLC; )
 NJS DEVELOPMENT COMPANY, LLC;                  )
 WH McCOLLUM & CO., LLC;                        )
 RM COMPANY, LLC; PINE MOUNTAIN PARTNERSHIP; )
 PINE MOUNTAIN PROPERTIES, G.P.,                )
 RMT COTTAGES, LLC, RMT PROPERTIES, LLC,        )
 RMT PROPERTIES, LP, RMT VILLAGE SHOPS, LLC,    )
 PM PROPERTIES OF TENNESSEE, LP,                )
 PM PROPERTIES OF TENNESSEE, LLC,               )
 PM PROPERTIES #2 OF TENNESSEE, LP,             )
 PM PROPERTIES #2 OF TENNESSEE, LLC,            )
 PM PROPERTIES #3 OF TENNESSEE, LP,             )
 PM PROPERTIES #3 OF TENNESSEE, LLC,            )
 M&D ROSS RENTALS; OR PROPERTIES, LLC;          )
 CC PROPERTIES, LLC;                            )
 CONSUMER RESEARCH COMPANY;                     )
 RFD, LLC; HDP PROPERTIES, LLC;                 )
 RRT PROPERTIES, LLC; VONORE PROPERTIES, LLC; )
 WFD COMPANY, INC.; R.P.M. RECOVERIES, INC.;    )




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 TELLICO COMMUNITIES, LLC; RCCA COMPANY, INC; )
 RMT CH PROPERTIES, LLC; and LTR MARINA, LLC, )
                                              )
               Defendants.                    )


                                   AMENDED COMPLAINT

        Plaintiff Robert T. Stooksbury, Jr., by and through counsel, brings this action against

 these Defendants based upon the following grounds for relief.

                                 JURISDICTION AND VENUE

        1.      This Honorable Court has subject matter jurisdiction in this case pursuant to the

 provisions of 28 U.S.C. §1331 (federal question) because Defendants’ conduct that is the subject

 of this case arises out of an illegal real estate conveyance enterprise and conspiracy in which

 Defendants were actively involved in violation of the Racketeer Influenced and Corrupt

 Organizations Act, 18 U.S.C. §§1961, et seq. (RICO).            The referenced illegal real estate

 conveyance enterprise and conspiracy is described more fully below.

      2.     Additionally, this Court has subject matter jurisdiction because this is an ancillary

 enforcement proceeding which specifically relates to conduct committed in derogation of the

 enforcement of a Judgment entered in the case of Stooksbury v. Ross, et al., in the United States

 District Court for the Eastern District of Tennessee, docket number 3:09-cv-00498 (the “2009

 Federal RICO case”).

      3.     As the record reflects in the 2009 Federal RICO case: Judgment was entered on

 March 6, 2012, in accordance with the jury’s verdict as to the amount of compensatory and

 punitive damages [Doc. 390] (a true copy of which is hereto attached as Exhibit 1); an Order

 was subsequently entered on May 30, 2012, awarding Plaintiff treble damages pursuant to 18


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 U.S.C. § 1964(c) [Doc. 393]; and an Order was entered on August 23, 2012, awarding Plaintiff’s

 attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c) [Doc. 708]. Those Defendants against

 whom the referenced Judgment was entered shall be collectively referenced herein as the

 “Judgment Debtors.”

         4.    As part of post-judgment proceedings in the 2009 Federal RICO case, the Court

 entered an Order on May 23, 2012, appointing a Receiver and precluding the Judgment Debtors

 from engaging in certain conduct, including transferring, conveying and encumbering assets

 [Doc. 548] (a true copy of which is hereto attached as Exhibit 2).

         5.    Because this Court has the inherent authority to enforce its judgments and because

 this case in significant part seeks relief pertaining to the Receivership and the post-judgment

 investigation of the Receiver on account of fraudulent conveyances made at relevant times by the

 Judgment Debtors and/or their agents in conjunction with the insiders and/or related entities who

 are also Defendants herein, this Court is vested with ancillary, supplemental and/or enforcement

 jurisdiction in this case pursuant to 28 U.S.C. §§ 754 and 1692.

          6.      Plaintiff specifically contends that the property and assets that are the subject of

 the fraudulent conveyances described herein should be part of the Receivership previously

 established by the Court in the 2009 Federal RICO case and/or a Receivership established in this

 case.

          7.     Additionally, this Court has subject matter jurisdiction in this case because

 Defendants’ actions and omissions, described more fully below, violate federal common law.




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         8.      Pursuant to 28 U.S.C. § 1367, this Court has ancillary jurisdiction of Plaintiff's

 state law claims set forth herein, because such claims are so related to the claims in this action

 within the Court's original jurisdiction that they form part of the same case or controversy.

         9.      The Court has in personam jurisdiction over the Defendants herein because each

 of the Defendants was regularly doing business within this judicial district at relevant times,

 personally and/or through agents and/or one or more business entities.

         10.     Venue is proper in this judicial district pursuant to the provisions of 28 U.S.C. §

 1391 and 18 U.S.C. § 1965(a), in that all or a substantial part of the events giving rise to

 Plaintiff's claims occurred in this judicial district.

                                   THE NATURE OF THE CASE

         11.     This is an action for damages to Plaintiff and for injunctive relief on account of

 for Defendants’: (a) violations of the Racketeer Influenced and Corrupt Organizations Act, 18

 U.S.C. §§1961, et seq., (RICO); (b) wrongful conduct which constitutes actual and constructive

 fraud, a fraud on this Honorable Court, and/or a fraud on the United States Bankruptcy Court for

 the Eastern District of Tennessee; and (c) for the commission and facilitation of fraudulent

 conveyances.

         12.     Plaintiff’s damages were proximately, directly and legally caused by Defendants’

 wrongful conduct and the injunctive relief requested by Plaintiff in this action is well supported,

 appropriate pursuant to the Federal Rules of Civil Procedure and the attendant case law, and

 necessary to avoid irreparable harm to the Plaintiff, as well as homeowners at the subject real

 estate developments.




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        13.     At relevant times during the pendency of the 2009 Federal RICO case, which

 remains in litigation, the Judgment Debtors who are Defendants herein, themselves and through

 their agents and various business entities controlled by them, entered into agreements and

 transactions with third parties (who are also Defendants herein) for the purpose of transferring

 and/or encumbering the Judgment Debtors’ property, property rights, and other assets to hinder,

 delay, and defraud the Plaintiff.    When engaging in these transactions and incurring these

 obligations, the Judgment Debtors failed to receive a reasonably equivalent value in exchange for

 the referenced transfers or obligations. Because of these fraudulent agreements and transactions,

 which have occurred at various times from the commencement of the 2009 Federal RICO case

 through the present, said Judgment Debtors were rendered substantially insolvent.

        14.     Based on the equitable and inherent powers of the Court, Plaintiff respectfully

 requests: (a) that the Receiver previously appointed in the 2009 Federal RICO case be appointed

 as Receiver in this related action during the pendency of this case; (b) that the Receiver have

 immediate oversight over all assets that are the subject of this action in order to preserve the

 status quo, to preserve the assets, and to prevent further waste of the assets; (c) that Defendants

 promptly provide the Receiver with an accounting of the assets that are the subject of this action,

 as well as an accounting of all transfers, expenditures, or encumbrances of their assets during the

 time period relevant to this action; (d) that the subject agreements and transfers be set aside as a

 fraud on this Court and/or as fraudulent conveyances; (e) that Defendants be completely divested

 of any and all interest in the subject assets, that Defendants restore any funds or assets

 improperly taken or expended, and that Defendants forfeit any funds used or expended to

 facilitate the fraudulent transfers and conveyances that are the subject of this action; (f) that the


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 assets that are the subject of this action be seized and sold and/or used to the fullest extent

 necessary to satisfy Plaintiff’s judgment in the 2009 Federal RICO case; and (g) that Defendants

 be enjoined from transferring, wasting, expending, encumbering or making any other

 dispositions of any entity or asset in their control that relates in any manner to assets formerly

 owned by the Judgment Debtors pending the resolution of this action and the full satisfaction of

 Plaintiff’s Judgment in the 2009 Federal RICO case, absent Defendants first obtaining

 permission from the Court.

        15.     The individuals primarily involved in the agreements, transfers and conveyances

 that are the subject of this action are: Judgment Debtor and Defendant Michael L. Ross (himself

 and through his authorized agents and attorneys, including but not limited to attorney John

 Stravato); Judgment Debtor and Defendant Rebecca Rose Ross Jordan (herself, and through her

 authorized agents, including Michael L. Ross and others); Judgment Debtor and Defendant

 Patricia Ross (who at times relevant to this action, was acting both in her individual capacity for

 her personal benefit, as well as on behalf of the Estate of Dale Ross); Defendant Ted Doukas

 (himself and through his authorized agents and attorneys, including but not limited to attorneys

 John Stravato and Gary Goldstein); Defendant James F. Macri (himself and through his

 authorized agents and attorneys); Defendant Evelyn W. Ross (wife of Judgment Debtor and

 Defendant Michael L. Ross, herself and through her authorized agents, including but not limited

 to Michael L. Ross and his attorneys); and Defendant Giselle Teixeira, also known as Giselle

 Doukas (wife of Defendant Ted Doukas, herself and through her authorized agents, including but

 not limited to Ted Doukas and his attorneys).




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                              THE PARTIES TO THIS ACTION

         16.   Plaintiff Robert T. Stooksbury, Jr., is a citizen and resident of Knox County,

 Tennessee.

         17.   Defendant Michael L. Ross (“Ross”), a Judgment Debtor in the 2009 Federal

 RICO case, is a citizen and resident of Blount County, Tennessee, and may be served by process

 at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

         18.   Defendant LTR Properties, Inc., a Judgment Debtor in the 2009 Federal RICO

 case, is a domestic corporation which may be served through its registered agent, Michael L.

 Ross.

         19.   Defendant Tellico Lake Properties, L.P., a Judgment Debtor in the 2009 Federal

 RICO case, is a domestic limited partnership which may likewise be served through its registered

 agent, Michael L. Ross, at its principal executive office, which is located at 2624 Carpenters

 Grade Road, Maryville, Tennessee 37803.

         20.   Defendant VPI Company, LLC, a Judgment Debtor in the 2009 Federal RICO

 case, is a domestic limited liability company which may be served through its registered agent,

 Michael L. Ross.

         21.   Defendant Rarity Bay Realty, Inc., is a Tennessee corporation which may be

 served through its registered agent for service of process, Michael Ross, at 100 Rarity Bay

 Parkway, Vonore, Tennessee 37885.

         22.   Defendant Evelyn Ross, wife of Defendant Michael L. Ross, is a citizen and

 resident of Blount County, Tennessee, and may be served with process at 2624 Carpenters Grade

 Road, Maryville, Tennessee 37803.

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        23.     Defendant Ted Doukas is a citizen and resident of the State of Florida and may be

 served with process at 19202 Cloister Lake Lane, Boca Raton, Florida 33498.

        24.     Defendant Athena of SC, LLC, is a South Carolina for profit LLC, which may be

 served through its registered agent for service of process, United Corporate Services, Inc., 2

 Office Park Court, Suite 103, Columbia, South Carolina 29223.

        25.     Defendant American Harper Corporation, itself and doing business as “RP CC

 Management Company” and “RB CC Management Company,” is a Nevada corporation which

 may be served through its registered agent for service of process, United Corporate Services,

 Inc., 202 South Minnesota St., Carson City, Nevada 89703.

        26.     Defendant Likos of Tennessee, Inc. is a Tennessee corporation which may be

 served through its registered agent for service of process, United Corporate Services, Inc., at 401

 Commerce St., Suite 710, Nashville, Tennessee 37219.

         27.    Defendant Raposo Realty, LLC is a Tennessee limited liability company, which

 may be served through its registered agent for service of process, United Corporate Services,

 Inc., at 401 Commerce St., Suite 710, SunTrust Plaza, Nashville, Tennessee 37219.

         28.    Defendant Breton Equity Company Corp. is a foreign corporation organized in the

 state of Nevada which may be served through its registered agent for service of process, United

 Corporate Services, Inc., 202 South Minnesota St., Carson City, Nevada 89703.

         29.    Defendant Efastos Corp. is a New York domestic business corporation, which

 may be served at its principal executive offices located at 70 Split Rock Road, Syosset, New

 York 11791.




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          30.   Defendant Giselle Teixeira, also known as Giselle Doukas, wife of Defendant Ted

 Doukas, is a citizen and resident of the state of Florida, and may be served with process at 19202

 Cloister Lake Lane, Boca Raton, Florida 33498.

          31.   Defendant Rebecca Rose Ross Jordan, a Judgment Debtor in the 2009 Federal

 RICO case, is a citizen and resident of Blount County, Tennessee, and may be served at 600 S.

 Cedar St., Maryville, Tennessee.

          32.   Defendant Rarity Management Company, LLC, a Judgment Debtor in the 2009

 Federal RICO case, is a Tennessee limited liability company which may be served through its

 registered agent for service of process, Michael Ross, at 2624 Carpenters Grade Road, Maryville,

 Tennessee 37803.

          33.   Defendant Patricia Ross, individually and as personal representative of the Estate

 of Dale Ross, is a citizen and resident of Blount County, Tennessee, and may be served with

 process at 702 S. Cedar St., Maryville, Tennessee; said Defendant is a Judgment Debtor in the

 2009 Federal RICO case in her capacity as personal representative of the Estate of Dale Ross.

          34.   Defendant James F. Macri is a citizen and resident of Blount County, Tennessee,

 and may be served with service of process at 4236 Ridge Water Road, Louisville, Tennessee

 37777.

          35.   Defendant Tennessee Land and Lakes, LLC, is a domestic limited liability

 company which may be served through its registered agent, Gregory D. Shanks, 406 Union

 Avenue, Suite 600, Knoxville, Tennessee 37902.




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         36.    Defendant NJS Development Company, LLC, is a domestic limited liability

  company which may be served through its registered agent, Michael L. Ross, at its principal

  executive office, which is located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

         37.    Defendant WH McCollum & Co., LLC, is a domestic limited liability company

  which may be served through its registered agent, Michael L. Ross, at its principal executive

  office, which is located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

         38.    Defendant RM Company, LLC, a Judgment Debtor in the 2009 Federal RICO

  case, is a domestic limited liability company which may be served through its registered agent,

  Michael L. Ross, at its principal executive office, which is located at 2624 Carpenters Grade

  Road, Maryville, Tennessee 37803.      To the extent this entity is inactive and/or has been

  administratively dissolved because of the failure to comply with requirements of the Tennessee

  Secretary of State, this entity should be deemed to be an unincorporated business entity owned

  and controlled by Defendant Michael L. Ross and/or the alter ego of Defendant Michael L. Ross

  and may be served through Mr. Ross at the address noted above.

         39.    Defendant Pine Mountain Partnership is a partnership and/or association which

  may be served through partner and/or principal Michael L. Ross at 2624 Carpenters Grade Road,

  Maryville, Tennessee 37803.

         40.    Defendant Pine Mountain Properties, GP, is a domestic partnership which may be

  served through its general partner and/or principal Michael L. Ross at 2624 Carpenters Grade

  Road, Maryville, Tennessee 37803.




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           41.   Defendant RMT Cottages, LLC, is a domestic limited liability company which

  may be served through its registered agent, Michael L. Ross, at its principal executive office,

  which is located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

           42.   Defendant RMT Properties, LLC, is a domestic limited liability company which

  may be served through its registered agent, Michael L. Ross, at its principal executive office,

  which is located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

           43.   Defendant RMT Properties, LP, is a domestic limited partnership which may be

  served through its registered agent, Michael L. Ross, at its principal executive office, which is

  located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

           44.   Defendant RMT Village Shops, LLC, is a domestic limited liability company

  which may be served through its registered agent, Michael L. Ross, at its principal executive

  office, which is located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

           45.   Defendant PM Properties of Tennessee, LP, is a Tennessee limited liability

  company, which may be served through its registered agent for service of process, David W.

  Long, 1111 N. Northshore Dr., Suite S700, Knoxville, Tennessee 37919. To the extent this

  entity is inactive and/or has been administratively dissolved because of the failure to comply

  with requirements of the Tennessee Secretary of State, this entity should be deemed to be an

  unincorporated business entity owned and controlled by Defendant Michael L. Ross and/or the

  alter ego of Defendant Michael L. Ross and may be served through Mr. Ross at the address noted

  above.

           46.   Defendant PM Properties of Tennessee, LLC, is a Tennessee limited liability

  company, which may be served through its registered agent for service of process, David W.


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  Long, 1111 N. Northshore Dr., Suite S700, Knoxville, Tennessee 37919. To the extent this

  entity is inactive and/or has been administratively dissolved because of the failure to comply

  with requirements of the Tennessee Secretary of State, this entity should be deemed to be an

  unincorporated business entity owned and controlled by Defendant Michael L. Ross and/or the

  alter ego of Defendant Michael L. Ross and may be served through Mr. Ross at the address noted

  above.

           47.   Defendant PM Properties #2 of Tennessee, L.P. is a Tennessee limited

  partnership, which may be served through its registered agent for service of process, David W.

  Long, 1111 N. Northshore Dr., Suite S700, Knoxville, Tennessee 37919. To the extent this

  entity is inactive and/or has been administratively dissolved because of the failure to comply

  with requirements of the Tennessee Secretary of State, this entity should be deemed to be an

  unincorporated business entity owned and controlled by Defendant Michael L. Ross and/or the

  alter ego of Defendant Michael L. Ross and may be served through Mr. Ross at the address noted

  above.

           48.   Defendant PM Properties #2 of Tennessee, LLC is a Tennessee limited liability

  company, which may be served through its registered agent for service of process, David W.

  Long, 1111 N. Northshore Dr., Suite S700, Knoxville, Tennessee 37919. To the extent this

  entity is inactive and/or has been administratively dissolved because of the failure to comply

  with requirements of the Tennessee Secretary of State, this entity should be deemed to be an

  unincorporated business entity owned and controlled by Defendant Michael L. Ross and/or the

  alter ego of Defendant Michael L. Ross and may be served through Mr. Ross at the address noted

  above.


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           49.   Defendant PM Properties #3 of Tennessee, L.P. is a Tennessee limited

  partnership, which may be served through its registered agent for service of process, David W.

  Long, 1111 N. Northshore Dr., Suite S700, Knoxville, Tennessee 37919. To the extent this

  entity is inactive and/or has been administratively dissolved because of the failure to comply

  with requirements of the Tennessee Secretary of State, this entity should be deemed to be an

  unincorporated business entity owned and controlled by Defendant Michael L. Ross and/or the

  alter ego of Defendant Michael L. Ross and may be served through Mr. Ross at the address noted

  above.

           50.   Defendant PM Properties #3 of Tennessee, LLC is a Tennessee limited

  partnership, which may be served through its registered agent for service of process, David W.

  Long, 1111 N. Northshore Dr., Suite S700, Knoxville, Tennessee 37919. To the extent this

  entity is inactive and/or has been administratively dissolved because of the failure to comply

  with requirements of the Tennessee Secretary of State, this entity should be deemed to be an

  unincorporated business entity owned and controlled by Defendant Michael L. Ross and/or the

  alter ego of Defendant Michael L. Ross and may be served through Mr. Ross at the address noted

  above.

           51.   Defendant M&D Ross Rentals, is a partnership or association controlled by

  Defendant Michael Ross which may be served at the address for Mr. Ross noted above.

           52.   Defendant OR Properties, LLC, is a domestic limited liability company which

  may be served through its registered agent, Michael L. Ross, at its principal executive office,

  which is located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803. To the extent this

  entity is inactive and/or has been administratively dissolved because of the failure to comply


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  with requirements of the Tennessee Secretary of State, this entity should be deemed to be an

  unincorporated business entity owned and controlled by Defendant Michael L. Ross and/or the

  alter ego of Defendant Michael L. Ross and may be served through Mr. Ross at the address noted

  above.

           53.   Defendant CC Properties, LLC, is a domestic limited liability company which

  may be served through its registered agent, Michael L. Ross, at its principal executive office,

  which is located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

           54.   Defendant Consumer Research Company is a domestic business entity or

  association which may be served through Evelyn W. Ross at 2624 Carpenters Grade Road,

  Maryville, Tennessee 37803.

           55.   Defendant RFD, LLC, is a domestic limited liability company which may be

  served through its registered agent, Michael L. Ross, at its principal executive office, which is

  located at 2624 Carpenters Grade Road, Maryville, Tennessee 37803.

           56.   Defendant HDP Properties, LLC, is a Wyoming limited liability company which

  may be served through its registered agent, WyomingRegisteredAgent.com, Inc., 1621 Central

  Avenue, Cheyenne, Wyoming 82001. To the extent this entity is inactive and/or has been

  administratively dissolved because of the failure to comply with requirements of the Wyoming

  Secretary of State, this entity should be deemed to be an unincorporated business entity owned

  and controlled by Defendant Michael L. Ross and may be served through Mr. Ross at the address

  noted above.

           57.   Defendant Vonore Properties, LLC, is a domestic limited liability company which

  may be served through its registered agent, Michael L. Ross.


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         58.    Defendant WFD Company, Inc. is a Tennessee domestic corporation, which may

  be served through its registered agent for service of process, David T. Black, 329 Cates Street,

  Maryville, Tennessee 37801.        To the extent this entity is inactive and/or has been

  administratively dissolved because of the failure to comply with requirements of the Tennessee

  Secretary of State, this entity should be deemed to be an unincorporated business entity owned

  and controlled by Defendant Michael L. Ross and/or the alter ego of Defendant Michael L. Ross

  and may be served through Mr. Ross at the address noted above.

         59.    Defendant R.P.M. Recoveries, Inc., which may be served through its principal

  officer / agent Ted Doukas at Mr. Doukas’ address above.

         60.    Defendant RRT Properties, LLC, is a Tennessee limited liability company, which

  may be served through its registered agent for service of process, Wendy Joiner, 416 Rule Street,

  Maryville, Tennessee 37804.        To the extent this entity is inactive and/or has been

  administratively dissolved because of the failure to comply with requirements of the Tennessee

  Secretary of State, this entity should be deemed to be an unincorporated business entity owned

  and controlled by Defendant Michael L. Ross and/or the alter ego of Defendant Michael L. Ross

  and may be served through Mr. Ross at the address noted above.

         61.    Defendant Tellico Communities, LLC. is a Tennessee domestic corporation,

  which may be served through its registered agent for service of process, Michael L. Ross, 2624

  Carpenters Grade Road, Maryville, Tennessee 37803. To the extent this entity is inactive and/or

  has been administratively dissolved because of the failure to comply with requirements of the

  Tennessee Secretary of State, this entity should be deemed to be an unincorporated business




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  entity owned and controlled by Defendant Michael L. Ross and/or the alter ego of Defendant

  Michael L. Ross and may be served through Mr. Ross at the address noted above.

         62.     Defendant RCCA Company, Inc. is a Tennessee domestic corporation, which may

  be served through its registered agent for service of process, Michael L. Ross, 2624 Carpenters

  Grade Road, Maryville, Tennessee 37803.

         63.     Defendant RMT CH Properties, LLC, is a domestic limited liability company

  which may be served through its registered agent for service of process, Michael L. Ross, 2624

  Carpenters Grade Road, Maryville, Tennessee 37803.

         64.     Defendant LTR Marina, LLC is a Tennessee limited liability company, which

  may be served through its registered agent for service of process, Michael L. Ross, 2624

  Carpenters Grade Road, Maryville, Tennessee 37803. To the extent this entity is inactive and/or

  has been administratively dissolved because of the failure to comply with requirements of the

  Tennessee Secretary of State, this entity should be deemed to be an unincorporated business

  entity owned and controlled by Defendant Michael L. Ross and/or the alter ego of Defendant

  Michael L. Ross and may be served through Mr. Ross at the address noted above.

                                   STATEMENT OF FACTS

         The Underlying Litigation and Judgment in the 2009 Federal RICO Case

         65.     On or about April 2, 2009, Mr. Stooksbury filed a damages action in Blount

  County Chancery Court, case no. 09-057, against Defendants Michael Ross, LTR Properties,

  Inc., Rarity Management Company, LLC, and others for fraud and conversion, as well as other

  causes of action.




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         66.     At all times relevant to this action, Rarity Management Company, LLC, was

  owned by Defendant Rebecca Ross Jordan, Defendant Michael Ross’ niece.

         67.     Following additional investigation into the conduct of Mr. Ross, Ms. Jordan, and

  others, Mr. Stooksbury filed the 2009 Federal RICO case on November 18, 2009, against the

  Judgment Debtors, as well as other individuals, outlining several causes of action for damages

  arising out of the operation of an illegal real estate enterprise and conspiracy involving several

  “Rarity” real estate developments.

         68.     During the pendency of the 2009 Federal RICO case, Mr. Stooksbury learned of

  some transfers of property and assets made by and between some of the Judgment Debtors and

  their relatives and/or affiliates for which the Judgment Debtors did not receive equivalent value

  and which, on their face, appeared to be fraudulent. Accordingly, in the summer of 2011,

  Plaintiff filed actions and liens lis pendens in several counties in Tennessee where the Judgment

  Debtors’ property was located. These actions specifically referenced Plaintiff’s pending 2009

  Federal RICO case and provided additional actual and constructive notice of Plaintiff’s pending

  2009 Federal RICO claims to all of the Defendants herein, as well as to others. True copies of

  pleadings filed in those actions are of record in the 2009 Federal RICO case [Doc. 291-13].

         69.     On or about March 18, 2011, New York attorney John Stravato appeared pro hac

  vice for the Defendants in the Blount County case referenced above; a true copy of Mr.

  Stravato’s application is in the record as Doc. 291-8 in the 2009 Federal RICO case and is hereto

  attached as Exhibit 3. In the referenced motion and application, Mr. Stravato listed his office

  address as “240 West Old Country Road, Hicksville, NY.”




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         70.     On March 24, 2011, John Stravato also appeared in the 2009 Federal RICO case

  as lead counsel of record for all of the Judgment Debtors [Doc. 128]; a true copy of the Order

  granting Mr. Stravato’s motion to appear pro hac vice is hereto attached as Exhibit 4).

         71.     Judgment Debtor Michael Ross had come to know Mr. Stravato on account of Mr.

  Ross’ business relationship and friendship with Defendant Ted Doukas; Mr. Stravato had known

  and previously worked with Mr. Doukas for many years and Mr. Stravato’s son had previously

  engaged in business transactions with Mr. Doukas.

         72.     During the time period after the Judgment Debtors had engaged Mr. Stravato to

  represent them in the referenced state and federal cases, the Defendants and Judgment Debtors

  were cited by both the Blount County Chancery Court and the United States District Court for

  contumacious and/or willful discovery violations, as the following orders reflect: the Blount

  County Chancery Court order entered on August 24, 2011, a true copy of which is filed in the

  record in the 2009 Federal RICO case as Doc. 291-7; the Report and Recommendation filed by

  the United States Magistrate Judge on September 28, 2011, which is of record in the 2009

  Federal RICO case as Doc. 185; and the orders and opinions entered by the United States District

  Court on November 21, 2011, and January 30, 2012, which are of record in the 2009 Federal

  RICO case as Docs. 209, 249 and 250, respectively.

         73.     Further, during the same time period the Courts were holding the Judgment

  Debtors accountable for the referenced discovery violations, Defendants Michael Ross, Evelyn

  Ross, Rebecca Ross Jordan, Patricia Ross, Ted Doukas, Giselle Doukas, and James Macri (as

  well as various business entities of theirs), themselves and through their agents, including but not

  limited to attorneys John Stravato, Gary Goldstein, and others, were facilitating and participating


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  in an illegal and improper scheme to transfer millions of dollars of assets for the purpose of

  hindering, delaying or defrauding Mr. Stooksbury.

           74.   For example, the Judgment Debtors’ counsel, Mr. Stravato, along with local

  counsel, personally appeared on behalf of all of the Judgment Debtors at a hearing on September

  26, 2011, before Magistrate Judge Guyton concerning the Judgment Debtors’ discovery

  violations. As Judge Guyton’s subsequent opinion reflects, Mr. Stravato admitted during the

  hearing that a significant amount of documents had not been produced and offered no logical

  explanation for it.

           75.   Just four days before the hearing, on September 22, 2011, Mr. Stravato had

  facilitated an agreement for the initial set of fraudulent conveyances involving the Judgment

  Debtors’ assets that are the subject of this action.

           76.   Further, shortly after Judge Guyton filed his Report and Recommendation

  recommending entry of a default judgment against the Judgment Debtors for willful discovery

  violations, the Judgment Debtors, themselves and with the assistance of Mr. Stravato and others,

  engaged in a series of fraudulent conveyances with other Defendants herein over the next several

  weeks.

           77.   In this manner, while the Judgment Debtors were frustrating and delaying Mr.

  Stooksbury’s prosecution of the 2009 Federal RICO case, the Judgment Debtors were

  fraudulently conveying millions of dollars in real property and assets in an effort to hinder, delay

  and defraud Mr. Stooksbury.

           78.   Following entry of a default judgment against the Judgment Debtors on January

  30, 2012, [Doc. 250], an Amended Final Pretrial Order was entered in the 2009 Federal RICO


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  case [Doc. 342], which established certain facts as a matter of law, including: that the Judgment

  Debtors, through an illegal real estate enterprise and conspiracy lead by Michael Ross, generated

  significant cash flow from various “Rarity” real estate developments, which were operated

  essentially as a pyramid / Ponzi scheme; that the illegal real estate enterprise and conspiracy

  generated in excess of 100 million dollars in cash flow in 2007 alone; that the illegal real estate

  enterprise and conspiracy violated 18 U.S.C. §§ 1962(c) and (d); that Defendants committed

  multiple related acts of mail fraud and wire fraud, knew that their predicate acts were part of a

  pattern of racketeering activity, and agreed to the commission of those acts; and that the

  wrongful conduct was the direct, proximate and legal cause of the damages and losses suffered

  by Mr. Stooksbury.

         79.     As an illustration of how the Judgment Debtors profited from the illegal real

  estate enterprise and conspiracy that was the subject of the 2009 Federal RICO case, Defendant

  Michael Ross’ financial statement for the calendar year 2006 reflected a net worth of

  $127,000,000. Doc. 479, Tr. 2/29/12, Ex. 43f.

         80.     A jury trial was held beginning February 21, 2012, to determine the amount of

  Mr. Stooksbury’s compensatory and punitive damages; verdicts were returned specifying those

  amounts on February 28, 2012, and March 1, 2012, respectively. A Judgment was entered by the

  clerk in accordance with the jury verdicts on March 6, 2012 [Doc. 390] (Exhibit 1, supra).

         81.     Subsequently, upon being apprised of numerous conveyances by the Judgment

  Debtors which the Court found to be likely fraudulent, the Court entered an order precluding

  Defendants from making further conveyances and appointed a Receiver to identify and preserve




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  the Judgment Debtors’ assets and to investigate the matters further [Doc. 548] (Exhibit 2, supra);

  see also [Doc. 586]. The Receiver filed his initial report on September 7, 2012 [Doc. 732].

         82.     As the record in the underlying litigation reflects, by no later than November 18,

  2009, as to all of the Judgment Debtors (and by April 2, 2009, as to Judgment Debtors Michael

  Ross, Rebecca Jordan, LTR Properties, Inc., and Rarity Management Company, LLC), Mr.

  Stooksbury was a “creditor” who had a “claim” against the Judgment Debtors as those terms are

  known, understood and defined by the statutory and common laws of the United States of

  American and the State of Tennessee, including but not limited to T.C.A. §§ 66-3-302, 66-3-305,

  and 66-3-306 of the Tennessee Uniform Fraudulent Transfer Act.

         83.     In the fall and winter of 2011, and extending through the present, Judgment

  Debtor Michael Ross, Defendant Ted Doukas, and Defendant Jim Macri, themselves and through

  their agents (including but not limited to attorneys John Stravato, Gary Goldstein, and others),

  and for themselves and on behalf of various business entities in which they had an interest,

  including Tellico Lake Properties, LP, LTR Properties, Inc., VPI Company, LLC, Athena of SC,

  LLC, American Harper Corporation, and Tennessee Land and Lakes, LLC, devised and

  participated in a scheme by which they would associate and collaborate to divide amongst

  themselves various properties, property rights, and future income streams from operations and

  sales at Rarity real estate developments, including those known as Rarity Bay and Rarity

  Enclave, as well as other properties; Defendants Rebecca Ross Jordan, Patricia Ross, Evelyn

  Ross, and Giselle Doukas, as well as their agents and business entities and the other Defendants

  herein, facilitated, supported and participated in the scheme (“the Illegal Rarity Conveyance

  Enterprise and Conspiracy”).


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         84.     Much of the improper conduct and many of the predicate acts committed by and

  on behalf of the individuals and entities referenced in paragraph 82 in furtherance of the Illegal

  Rarity Conveyance Enterprise and Conspiracy occurred during the months of August,

  September, October, November and December of 2011, and January, February and March of

  2012, which were the months leading up to the Judgment in favor of Mr. Stooksbury against the

  Judgment Debtors in the 2009 Federal RICO case.

         Improper Conduct and Predicate Acts in Furtherance of the Illegal Rarity
         Conveyance Enterprise and Conspiracy in Violation of 18 U.S.C. § 1962(c) and (d)

                 A.     Overview and Background

         85.     During the fall of 2011, Defendants Michael Ross, Ted Doukas, and James Macri,

  themselves and through their agents and on behalf of several business entities in which each had

  an interest, including Judgment Debtors / Defendants Tellico Lake Properties, LP, LTR

  Properties, Inc., and VPI Company, LLC, and Defendants Athena of SC, LLC, and Tennessee

  Land and Lakes, LLC, entered into a multi-party agreement, collectively agreeing that

  substantially all of the Judgment Debtors’ assets in the development known as Rarity Enclave

  would be transferred to Tennessee Land and Lakes, LLC, an entity owned and/or controlled in

  pertinent part by James Macri, and substantially all of the Judgment Debtors’ other assets,

  including assets in the development known as Rarity Bay, would be transferred to one or more

  companies owned or controlled by Mr. Ross and/or Mr. Doukas. As is outlined in greater detail

  below, the cornerstone of the multi-party agreement was Tennessee Land and Lakes’ improper

  and fraudulent acquisition of the declarant’s rights at Rarity Enclave from VPI Company, LLC,

  one of Mr. Ross’ business entities, which in turn was exchanged for the various other



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  components of the deal for the benefit of Mr. Ross, Mr. Doukas, their relatives, and various

  business entities controlled by them.

          86.    With regard to the transactions generally referenced in paragraph 85 above,

  Plaintiff specifically alleges that the Judgment Debtor / Defendants: (a) engaged in the

  transactions with the intent to hinder, delay and defraud Plaintiff; (b) did not receive a reasonably

  equivalent value in exchange for the transactions and were engaged in, or were about to engage

  in, transactions which rendered said Judgment Debtors substantially insolvent; (c) were

  transferring assets to entities which were affiliates, in that the entities which obtained the

  respective Judgment Debtor’s assets had agreed to exercise control over substantially all of each

  such Judgment Debtor’s remaining assets as part of the referenced transactions and had formed

  an association and/or joint venture or enterprise for the purpose of carrying out these

  transactions; and (d) violated 18 U.S.C. §§ 1961 – 1968. Further, these transactions were key

  components of the Illegal Rarity Conveyance Enterprise and Conspiracy described herein and

  served as the foundation which enabled the other transactions in the scheme to be accomplished

  thereafter.

          87.    During the operation of the various Rarity developments generally referenced in

  the 2009 Federal RICO case, Michael Ross became acquainted with two other individuals, Ted

  Doukas and James Macri.

          88.    On or about January 5, 2010, Mr. Doukas formed an entity named American

  Harper Corporation in Nevada, listing his address as 70 Split Rock Road in Syosset, New York.

  Plaintiff specifically alleges that American Harper Corporation was used by Mr. Doukas and




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  other Defendants to commit acts in furtherance of the Illegal Rarity Conveyance Enterprise and

  Conspiracy during the time period relevant to this action.

         89.     On or about August 11, 2010, Ted Doukas formed a business entity in Tennessee

  named Raposo Realty, LLC, which Mr. Doukas initially located in Mr. Ross’ offices at 1010

  William Blount Drive in Maryville, Tennessee; Mr. Doukas listed himself as registered agent for

  service of process and listed his address for service of process as Mr. Ross’ offices at 1010

  William Blount Drive in Maryville, Tennessee. Plaintiff specifically alleges that Raposo Realty,

  LLC was used by Mr. Doukas and other Defendants to commit acts in furtherance of the Illegal

  Rarity Conveyance Enterprise and Conspiracy during the time period relevant to this action.

         90.     On or about March 29, 2011, Mr. Doukas formed an entity named Athena of SC,

  LLC, in South Carolina, listing Mr. Doukas’ address as 4713 Villa Mare Lane, Naples, Florida

  34103, and listing United Corporate Services, Inc., as initial agent for service of process.

  Plaintiff specifically alleges that Athena of SC, LLC was used by Mr. Doukas and other

  Defendants to commit acts in furtherance of the Illegal Rarity Conveyance Enterprise and

  Conspiracy during the time period relevant to this action.

         91.     On or about November 22, 2011, Mr. Doukas formed a business entity in

  Tennessee named Likos of Tennessee, Inc., listing its principal office address as 19202 Cloister

  Lake Lane, Boca Raton, FL 33498-4856. United Corporate Services, Inc., was designated as

  agent for service; Mr. Doukas’ wife, Giselle Teixeira (also known as Giselle Teixeira Doukas),

  was listed as President; and the directors specified were Mr. Doukas and his wife. Plaintiff

  specifically alleges that Likos of Tennessee, Inc. was owned by Giselle Doukas at all relevant




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  times, but was used by Mr. Doukas and other Defendants to commit acts in furtherance of the

  Illegal Rarity Conveyance Enterprise and Conspiracy.

         92.     During 2010 and continuing thereafter through the date of the filing of this action,

  Mr. Ross and Mr. Doukas, through various entities controlled by them, engaged in various

  transactions with one another involving real property and other assets and discussed various

  schemes through which they could associate to maintain control of the Judgment Debtors’ assets.

         93.     In 2010, Mr. Ross and Mr. Doukas worked together to facilitate Mr. Doukas’

  acquisition of 47 lots at Rarity Bay, through an entity owned by Mr. Doukas. These lots had

  been owned previously by Tellico Lake Properties, LP, an entity controlled by Mr. Ross. Tellico

  Lake Properties had conveyed the lots by Quitclaim Deed (WD330/212-213) in 2008 to LTR

  Properties, Inc., an entity owned entirely by Mr. Ross. The next day LTR Properties, Inc.

  conveyed by Warranty Deed (WD330/214-218) the same lots to Glenn Wright Homes

  (Tennessee), LLC; Glenn Wright was at the time a business associate of Ted Doukas. Mr. Ross

  signed as Affiant attesting the value of the property at the time of the transfer to Glenn Wright’s

  entity to be $5,170,000. Mountain Commerce Bank thereafter loaned Glenn Wright Homes

  (Tennessee), LLC $3,360,000 on June 13, 2008, and subsequently assigned the note to First State

  Financial on December 28, 2009 (M209/139-144). Following a default by Glenn Wright shortly

  thereafter, a Successor Trustee’s Deed (WD344/331-332) conveyed the 47 lots on October 8,

  2010, to Raposo Realty, LLC, listing Raposo Realty, LLC’s address as “1010 William Blount

  Drive, Maryville, TN 37801,” which was the location of Mr. Ross’ offices in Maryville (which

  were being shared by Mr. Doukas).




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         94.     Mr. Ross and Mr. Doukas personally guaranteed the new loan which Raposo

  Realty, LLC, obtained to finance the 47 lots at Rarity Bay referenced above. Additionally, Mr.

  Ross arranged for Raposo Realty, LLC, not to have to pay Rarity Bay Homeowners’ Association

  fees on the 47 lots that were conveyed to Raposo Realty, LLC.

         95.     In the 2010 through 2011 timeframe, Defendant James Macri and Mr. Ross had

  several discussions about potential dealings where Mr. Macri, through a business entity in which

  Mr. Macri had or would have an interest, would acquire an interest in one or more of the Rarity

  developments for the purpose of aggressively marketing and selling lots at a significant discount.

         96.     Also during that time period, Mr. Macri, through a business entity controlled by

  him, considered purchasing one or more bank notes encumbering one or more Rarity

  developments and selling lots following foreclosure. However, one of the impediments to this

  approach considered by Mr. Macri was how to deal with the “Declarant’s” or “Developer’s”

  rights that were recorded for each of the Rarity developments, which included covenants,

  conditions and restrictions with the property that were generally not subject to bank notes.

  Accordingly, Mr. Macri was concerned about paying money to acquire bank notes to obtain title

  to property in a Rarity development, only to have to pay Mr. Ross or an entity controlled by Mr.

  Ross membership fees and other costs each time a lot would sell. The substance of Mr. Macri’s

  concerns on this subject is summarized in the letter sent by Mr. Macri on behalf of Tennessee

  Land and Lakes, LLC, to First Bank on September 8, 2011, a true copy of which is hereto

  attached as Exhibit 5.

         97.     Meanwhile, at various times in 2010 and 2011, Mr. Ross and/or Mr. Doukas had

  advised bank representatives that Mr. Doukas might be willing to buy one or more of the bank


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  notes encumbering the Rarity developments which were in default, after which Mr. Ross would

  remain involved with the development. However, the banks which were approached in that

  manner were not interested in dealing with Mr. Doukas and Mr. Ross on that basis.

         98.     Prior to and/or during the fall of 2011, Defendants Michael Ross, Ted Doukas and

  James Macri were aware that there were SunTrust Bank promissory notes encumbering property

  at Rarity Bay owned by Judgment Debtors Tellico Lake Property, LP, and LTR Properties, Inc.,

  which were in default. During that same time period, said Defendants also were aware or

  became aware that a First Bank note encumbered the property at Rarity Enclave and that the note

  was in default. Rarity Enclave was owned by VPI Company, LLC -- an entity owned 100% by

  Mr. Ross. Said Defendants knew and/or understood that Mr. Ross was a personal guarantor on

  both the SunTrust notes and the First Bank note.

         99.     One of the SunTrust notes referenced in paragraph 98 encumbered approximately

  120 lots at Rarity Bay owned by Defendant Tellico Lakes Properties, LP, and had been made on

  or about August 1, 2008, for approximately $5,885,000 (which amount was subsequently

  increased). The other SunTrust note encumbered approximately 11 condominiums owned by

  Defendant LTR Properties, Inc., and had been made on or about October 15, 2006, for

  approximately $3,000,000. Subsequently, said Defendants defaulted on both notes, leaving a

  total balance owing of nearly $7,000,000, including interest and costs.

         100.    The First Bank note referenced in paragraph 98 encumbered approximately 99

  single family residential lots and the construction of infrastructure improvements at Rarity

  Enclave and had been made by VPI Company, LLC (and Mr. Ross) on or about December 7,

  2007, for approximately $4,484,000. Said Defendants subsequently defaulted on the First Bank


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  note and as of January 21, 2010, more than $4,300,000 remained owing, not including interest

  and costs which accrued thereafter.

           101.   Following default on the Rarity Enclave note, First Bank sued VPI Company,

  LLC, and Michael L. Ross on January 25, 2010, in Knox County Chancery Court, Docket No.

  176927-1. Said Defendants disputed the suit and filed an answer and counter-claim against First

  Bank on March 15, 2010.

           102.   Under the threat of foreclosure proceedings by First Bank, VPI Company, LLC,

  through Mr. Ross as its Chief Manager, filed a Chapter 11 Bankruptcy action in the United States

  Bankruptcy Court for the Eastern District of Tennessee on or about August 24, 2010.

  Subsequently, First Bank obtained relief from the automatic stay from the Bankruptcy Court and

  was allowed to continue to prosecute the referenced Chancery Court action.

                  B.     The Multi-Party Agreement Between James Macri, Michael Ross, and
                         Ted Doukas in the Fall of 2011 and the Conveyance of the Declarant’s
                         Rights for Rarity Enclave Outside of the Pending Bankruptcy Action.

           103.   By the fall of 2011, the First Bank case on the Rarity Enclave note was still

  pending; the SunTrust notes encumbering property at Rarity Bay remained in default (but

  without pending litigation or foreclosure proceedings); and Defendant James Macri had

  contacted both First Bank and SunTrust to explore the potential of buying the referenced bank

  notes.

           104.   It was during this time period that negotiations took place that resulted in a multi-

  party agreement that served as the foundation for the Illegal Rarity Conveyance Enterprise and

  Conspiracy referenced in paragraphs 83 through 86 above.




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         105.    During the course of the negotiations in the fall of 2011 between Defendants

  James Macri, Michael Ross, Ted Doukas, said Defendants’ agents, and by imputation the

  business entities controlled by them, all parties knew that VPI Company, LLC, was in Chapter

  11 bankruptcy in the United States District Court for the Eastern District of Tennessee.

         106.    During the course of those negotiations, Defendants James Macri, Michael Ross,

  Ted Doukas, said Defendants’ agents, and by imputation the business entities controlled by them,

  also knew that the Covenants, Conditions and Restrictions for Rarity Enclave (“the Declarant’s

  Rights for Rarity Enclave”) were owned by VPI Company, LLC, and were a valuable asset

  belonging to VPI Company, LLC.

         107.    During the course of the negotiations, Defendants James Macri, Michael Ross,

  Ted Doukas, said Defendants’ agents, and by imputation the business entities controlled by them,

  had actual knowledge that an integral part of the deal being negotiated was the acquisition of the

  Declarant’s Rights for Rarity Enclave by Tennessee Land and Lakes, LLC, from VPI Company,

  LLC.

         108.    During the course of the negotiations, Defendants James Macri, Michael Ross,

  Ted Doukas, said Defendants’ agents, and by imputation the business entities controlled by them,

  understood that unless Tennessee Land and Lakes, LLC, acquired the Declarant’s Rights for

  Rarity Enclave from VPI Company, LLC, as part of the transaction, the deal would not go

  forward and Tennessee Land and Lakes would not assign the SunTrust notes to an entity

  specified by attorney John Stravato (who at the time was counsel of record for Judgment Debtors

  Michael L. Ross, Tellico Lake Properties, LP, and LTR Properties, Inc., as well as the other

  Judgment Debtors in the 2009 Federal RICO case).


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         109.    During the course of the referenced negotiations, it was the goal and intention of

  Defendants James Macri, Michael Ross, Ted Doukas, and entities controlled by them to facilitate

  and enter into a multi-party agreement in the fall of 2011 to divide among themselves the assets

  of the Judgment Debtors in the developments known as Rarity Bay and Rarity Enclave, as well

  as other assets, in derogation of Mr. Stooksbury’s pending claims in the United States District

  Court and liens lis pendens.

         110.    The multi-party deal negotiated and reached between Defendants James Macri,

  Michael Ross, Ted Doukas, and the entities controlled by them included the following

  components: (1) allowing Tennessee Land and Lakes, LLC, to obtain the Declarant’s Rights for

  Rarity Enclave from VPI Company, LLC, fraudulently, outside of VPI Company, LLC’s pending

  bankruptcy action, without notice to the United States Bankruptcy Court for the Eastern District

  of Tennessee in violation of federal law; (2) withholding the recording of the transfer of said

  Declarant’s Rights from VPI Company, LLC, to Tennessee Land and Lakes, LLC, until just after

  VPI Company, LLC’s bankruptcy action was dismissed; (3) enabling Tennessee Land and Lakes,

  LLC, to close on the purchase of the First Bank notes encumbering Rarity Enclave and then to

  make a credit bid on the property at foreclosure with the assurance that Tennessee Land and

  Lakes, LLC, had already secured ownership and control of the Declarant’s Rights for Rarity

  Enclave; (4) having Tennessee Land and Lakes, LLC, obtain and then assign the SunTrust notes

  encumbering property at Rarity Bay to an entity designated by Defendant Michael Ross’

  attorney, John Stravato, for the same amount Tennessee Land and Lakes, LLC, had agreed to pay

  SunTrust for the notes (approximately $1,560,000); (5) upon Tennessee Land and Lakes, LLC,

  being paid back for the SunTrust notes by a business entity designated by Mr. Ross’ attorney, the


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  designated entity would then enter into friendly agreed judgments against Defendants Tellico

  Lake Properties, LP, LTR Properties, Inc., and Michael L. Ross in state court in Knox County for

  well more than five times the amount being paid for the SunTrust notes; (6) near the same time,

  Tennessee Land and Lakes, LLC, would enter into a friendly agreed judgment against VPI

  Company, LLC, and Michael Ross in state court for the deficiency on the First Bank note and

  then assign that Judgment to a business entity designated by Mr. Ross’ attorney; and (7) the

  friendly judgments in favor of the business entity designated by Mr. Ross’ attorney would then

  be used as a pretext for transferring all or substantially all of the assets of Tellico Lake

  Properties, LP, LTR Properties, Inc., and Michael L. Ross, (as well as related entities) to entities

  as specified and agreed by Mr. Ross and Mr. Doukas.

         111.    In accordance with an agreement between Mr. Ross and Mr. Doukas, the entity

  Mr. Ross’ attorney (Mr. Stravato) specified when the initial components of the deal were being

  finalized in late September of 2011, was an entity called Athena of SC, LLC, an entity owned by

  Mr. Doukas. The address Mr. Stravato listed as the address for Athena of SC, LLC, on the

  documents was Mr. Stravato’s office address (the same address listed on Mr. Stravato’s

  application to appear pro hac vice for Defendants Michael Ross and LTR Properties, Inc. and

  others. See Exhibit 3, supra); and Mr. Doukas ultimately signed the documents on behalf of

  Athena of SC, LLC.

         112.    The Defendants referenced in paragraphs 109 and 110 committed the acts

  necessary to accomplish the steps referenced in paragraph 110 through multiple communications

  between them and their agents while using the phones, the internet, wire, and/or mail during a

  time period which included, but is not limited to, August 26, 2011, and March 20, 2012, as well


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  as acts constituting bankruptcy fraud; each such communication and act constitutes a separate

  predicate act in furtherance of the Illegal Rarity Conveyance Enterprise and Conspiracy in

  violation of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §§1961, et seq.,

  (RICO).

         113.     The initial steps taken in furtherance of the multi-party agreement referenced

  above were taken in August and September of 2011.

         114.     For example, on August 26, 2011 – just two days after the entry of the discovery

  order referenced above in paragraph 79 finding that Defendants Michael Ross, LTR Properties,

  LLC, and others had engaged in discovery abuse in the Blount County Chancery Court case, Mr.

  Ross, Mr. Macri, and Mr. Doukas exchanged e-mails with the Subject Line “Rarity Bay” for the

  purpose of discussing the initial steps in the Illegal Rarity Conveyance Enterprise and

  Conspiracy.

         115.     Specifically, at 9:24 a.m. on August 26, 2011, Mr. Ross e-mailed Mr. Macri the

  following message, reflecting how Mr. Ross intended to set up a new entity that would enable

  him to continue to participate in the operation of the Rarity Bay development after the SunTrust

  notes had been purchased at a steep discount by Tennessee Land and Lakes, LLC, and then

  assigned to the new company in which Mr. Ross would be an integral part:

            Jim, As I understand the deal, Your company will purchase the SunTrust
            Notes @ Rarity Bay which are owned by Tellico Lake Properties, L.P. and
            LTR Properties, Inc. and the collateral that is encumbered by those notes
            will be placed into a New Company @ cost and I or my assignee will own
            30% of the new company. We will determine a budget in advance for
            Revenues and Expenses from sale of the collateral and use this as a basis to
            pay out the profits on each sale of the property as they occur; e.g. if total
            sales revenue is projected @ $4,000,000 and expenses are $3,000,000, there
            is $1,000,000 profits -- 25% of sales revenue is profit. (e.g.) A $100,000.00
            sales would result in $25,000 profit of which 30% ($7,500.) would pay out

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             to me each closing). Also any deficiency that is realized from the SunTrust
             notes will be transferred to me or my assignee upon request. If this
             accurately represents our agreement please acknowledge by return e-mail.
             Regards.

         A true copy of this e-mail is hereto attached as Exhibit 6.

         116.     Shortly thereafter, the exact same e-mail was sent to Mr. Macri only a few hours

  later, on August 26, 2011, at 1:40 p.m., but this time signed by Ted Doukas. A true copy of this

  e-mail is hereto attached as Exhibit 7.

         117.     During this same general time period, in furtherance of the Illegal Rarity

  Conveyance Enterprise and Conspiracy, James Macri, on behalf of Tennessee Land and Lakes,

  LLC, was negotiating for the purchase of the two notes referenced above from SunTrust at a

  significant discount from the face value of the notes; subject to closing, Tennessee Land and

  Lakes, LLC, negotiated to buy both of the referenced notes for the total amount of $1,560,000.

         118.     During the same timeframe, Jim Macri, on behalf of Tennessee Land and Lakes,

  LLC, was also negotiating with First Bank for the acquisition of its note encumbering Rarity

  Enclave.

         119.     On September 8, 2010, Tennessee Land and Lakes, LLC, by James F. Macri,

  Chief Manager, wrote the letter to First Bank referenced in paragraph 96 above, enclosing an

  offer to purchase the subject First Bank Promissory Note and affirmatively stating that

  Tennessee Land and Lakes’ acquisition of the note and potential acquisition of the property at

  foreclose would be subject to the developers’ rights / covenants, conditions and restrictions for

  Rarity Enclave which (1) “require lot purchasers to buy a ‘social membership’”; (2) require

  Tennessee Land and Lakes to “immediately begin paying association dues” on all lots; and (3)

  give Mr. Ross “virtual veto rights over any construction in Rarity Enclave by virtue of his total

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  control of the Architectural Control Committee.” In that same letter, Mr. Macri states that

  Tennessee Land and Lakes, LLC, believes “these rights survive any foreclosure and unless

  monetary concessions of at least $300,000 are made to Ross, only litigation can resolve this issue

  which takes time and money.” Exhibit 5, supra.

         120.    Based upon information and belief, Tennessee Land and Lakes ultimately

  negotiated a purchase price of approximately $1,250,000 for the First Bank note, subject to

  closing.

         121.    During the same time period that Tennessee Land and Lakes, LLC, was

  negotiating with SunTrust and First Bank for the potential acquisition of the referenced notes,

  Tennessee Land and Lakes, LLC (through James Macri) was negotiating with the other

  participants in the initial steps of the Illegal Rarity Conveyance Enterprise and Conspiracy for

  the transfer of the Declarant’s Rights at Rarity Enclave by VPI Company, LLC, to Tennessee

  Land and Lakes, LLC, outside the purview of the United States Bankruptcy Court in the pending

  Chapter 11 bankruptcy proceeding involving VPI Company, LLC.

         122.    To confirm the multi-party agreement generally referenced above, on September

  20, 2011, Tennessee Land and Lakes’ attorney and agent forwarded a “Multi-Party Agreement”

  to Mr. Ross’ attorney, John Stravato, which reflected that Tennessee Land and Lakes had agreed

  to transfer the SunTrust notes at Rarity Bay to an as yet undesignated buyer (to be designated by

  Mr. Ross’ attorney) in exchange for: (1) the undesignated buyer paying Tennessee Land and

  Lakes the same amount Tennessee Land and Lakes was paying for the SunTrust note; and (2)

  Mr. Ross executing a “Binding Cooperation Agreement” with Tennessee Land and Lakes

  regarding Rarity Enclave in Monroe County, Tennessee, which required Mr. Ross to convey the


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  Declarant’s Rights and Rarity Enclave to Tennessee Land and Lakes. That same agreement

  provided for a closing date in November of 2011. A true copy of this proposed “Multi-Party

  Agreement” is hereto attached as Exhibit 8.

         123.   That same afternoon, immediately after sending the draft agreement referenced in

  paragraph 122, Tennessee Land and Lakes, LLC, through its attorney, sent an e-mail to Mr.

  Ross’ attorney enclosing a proposed “Cooperation Agreement,” which was “an exhibit to the

  (multi-party) agreement” and which required VPI to transfer the Developer’s Rights at Rarity

  Enclave to Tennessee Land and Lakes, LLC. The e-mail emphasized that “everything in this

  deal is contingent upon this Cooperation Agreement with Mike Ross.” A true copy of this e-mail

  and attachment is hereto attached as Exhibit 9.

         124.   The terms of the Cooperation Agreement specifically recite that upon Tennessee

  Land and Lakes’ acquisition of the First Bank note, “Ross shall cause VPI Company, LLC, to,

  and VPI does hereby transfer and assign unto (Tennessee Land and Lakes, LLC) all of the

  developer rights, and all of VPI’s rights as declarant or developer under any and all restrictive

  covenants affecting (Rarity) Enclave . . . and does hereby irrevocably appoint (Tennessee Land

  and Lakes) as declarant under the “covenants, conditions, restrictions and easements for (Rarity

  Enclave). In exchange, Tennessee Land and Lakes agreed “not to seek collection of the (First

  Bank) note from Ross and transfer the guaranty to Ross or his assigns upon his request.”

         125.   The Cooperation Agreement also expressly provided that “upon the transfer of the

  (First Bank) note to (Tennessee Land and Lakes, LLC), Ross shall cause VPI to file the

  appropriate documents and pursue the dismissal of its bankruptcy.”




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         126.    The documents also reflect that as part of and in conjunction with transactions

  referenced in paragraphs 130, 131, and 132 above, upon Tennessee Land and Lakes receiving the

  declarant rights to Rarity Enclave through its purchase of the First Bank note, Mr. Ross’

  designee (which turned out to be Mr. Doukas, through Athena of SC, LLC, an entity controlled

  by him) would obtain both (a) the SunTrust notes encumbering property at Rarity Bay and (b)

  control over Mr. Ross’ guarantee of the First Bank note and the resulting deficiency on the First

  Bank note.

         127.    As has been generally referenced above, the purpose of these components was to

  enable and to facilitate Mr. Ross’ designee, Mr. Doukas, and Mr. Ross, through their respective

  entities, to enter into friendly judgments in state court immediately following the closing on the

  referenced bank notes (which was ultimately accomplished, with the assistance and participation

  of Mr. Macri’s attorney and agent).

         128.    In the late morning of September 21, 2011, James Macri sent Ted Doukas an e-

  mail stating: “Ted, SunTrust is requiring I sign the agreement and wire the money before 2pm

  today. Let’s get this done now . . . . I need you to wire the $230,000 to (my attorney) now.” A

  true copy of this e-mail is hereto attached as Exhibit 10.

         129.    When the “final version” of the Multi-Party Agreement was sent to Mr. Ross’

  attorney, Mr. Stravato, by Tennessee Land and Lakes’ counsel by e-mail on September 21, 2011,

  at 1:23 p.m., the name of the “buyer” who was purportedly purchasing the SunTrust notes from

  Tennessee Land and Lakes, LLC, still had yet to be specified.




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         130.    Later that same day, at 2:29 p.m., Mr. Ross’ attorney, Mr. Stravato, sent an e-mail

  to counsel for Tennessee Land and Lakes stating that the name and address of the buyer should

  be: “Athena of SC, LLC, 240 West Old Country Road, Hicksville, New York 11801.”

         131.    During that same time period, Mr. Stravato was continuing to represent Defendant

  Michael L. Ross and the other Judgment Debtors in the 2009 Federal RICO case, as well as in

  the Blount County Chancery Court case referenced herein.

         132.    As a result of these exchanges, also in the afternoon on September 21, 2011,

  counsel for Tennessee Land and Lakes sent an e-mail to the attorney for First Bank stating “It

  looks like this deal is done. When do you want the money and transfer the documents (sic).” A

  true copy of this e-mail is hereto attached as Exhibit 11.

         133.    On September 22, 2011, Mr. Ross e-mailed Mr. Macri’s attorney a signed

  “Cooperation Agreement” between VPI Company, LLC, and Tennessee Land and Lakes, which

  included (as an exhibit) a fully executed and notarized “Assignment of Declarant Rights.” This

  Assignment “unconditionally and irrevocably” transferred the Declarant’s Rights for Rarity

  Enclave from VPI Company, LLC, to Tennessee Land and Lakes, LLC. Said Assignment is

  fully executed and dated September 22, 2011. A true copy of the fully executed Cooperation

  Agreement, with the Assignment of the Declarant Rights executed September 22, 2011, is hereto

  attached as Exhibit 12.

         134.    In accordance with the intentions of the parties and in furtherance of the goals of

  the Illegal Rarity Conveyance Enterprise and Conspiracy, the e-mail referenced in paragraph 133

  included a statement by Mr. Ross specifically instructing Mr. Macri’s attorney to hold the

  Cooperation Agreement “in escrow until the agreement with TN Land Lakes, LLC and Athena


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  have been completed.” Mr. Ross then asked that he be sent “an executed copy of the Cooperation

  Agreement after TN Land and Lakes, LLC has signed,” which occurred later that afternoon.

         135.    Less than an hour after Mr. Ross had forwarded an executed copy of the

  Cooperation Agreement and the Assignment of Declarant Rights referenced above, both Ted

  Doukas and James Macri had signed the corresponding agreement between Athena of SC, LLC,

  and Tennessee Land and Lakes for the purchase of the SunTrust notes. Said fully executed

  Agreement was faxed to Mr. Macri and/or Mr. Shanks on September 22, 2011, at approximately

  2:27 p.m. A true copy of the signed agreement is hereto attached as Exhibit 13.

         136.    Shortly thereafter, Mr. Ross’ attorney, John Stravato, wired $230,000 to Mr.

  Macri’s attorneys’ trust account. A true copy of the bank’s “Incoming Wire Transmission

  Notification” is hereto attached as Exhibit 14.

         137.    Subsequently, also on September 22, 2011, Tennessee Land and Lakes, LLC and

  SunTrust Bank executed an agreement allowing Tennessee Land and Lakes to acquire the

  referenced SunTrust notes for $1,560,000. Said agreement provided for a closing date the

  following month.

         138.    Later on September 22, 2011, Defendant Macri wrote Defendant Mike Ross an e-

  mail stating that Greg Shanks (counsel for Mr. Macri and Tennessee Land and Lakes) needed the

  original Cooperation Agreement “from you and me.” The original Agreement was thereafter

  forwarded to Greg Shanks.       A true copy of the referenced e-mail and the fully signed

  Cooperation agreement is hereto attached as Exhibit 15.

         139.    Also on September 23, 2011, at 2:34 p.m., Defendant Michael Ross sent an e-mail

  to VPI Company, LLC’s bankruptcy counsel Lynn Tarpy, with a copy to Greg Shanks and with a


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  subject line designated as “VPI Bankruptcy,” stating: “Lynn, it is now okay to dismiss or

  withdraw the VPI bankruptcy.” A true copy of said e-mail is hereto attached as Exhibit 16.

         140.   However, the pending bankruptcy action in the United States District Court for

  the Eastern District of Tennessee for VPI Company, LLC, was not dismissed until an order was

  entered on November 14, 2011. See In re: VPI Company, LLC, no. 3:10-bk-34099 [Doc. 76].

         141.   At no time did VPI Company, LLC list the Declarant’s Rights at Rarity Enclave,

  which were owned by VPI Company, LLC, as an asset in any of its disclosures or reports in the

  Chapter 11 bankruptcy proceeding which was ongoing at the time of the transactions referenced

  above. When VPI filed its motion to dismiss on October 5, 2011, VPI simply stated: “the only

  asset of the estate was a development in Monroe County, Tennessee, for which the secured

  creditor has received relief from the stay and foreclosed. There was no equity.” [Doc. 73].

         142.   At no time did VPI Company, LLC, Defendant Michael Ross, Defendant

  Tennessee Land and Lakes, LLC, Defendant James Macri, Defendant Athena of SC, LLC, or

  Defendant Ted Doukas disclose the transactions in which they were involved (referenced above)

  to the United States Bankruptcy Court for the Eastern District of Tennessee.

         143.   To the contrary, the parties to the multi-party agreement described above took

  affirmative steps to conceal from the United States Bankruptcy Court the fraudulent conveyance

  of the Declarant’s Rights at Rarity Enclave to Tennessee Land and Lakes.

         144.   Specifically, in addition to the failure to disclose the Declarant Rights at Rarity

  Enclave as an asset in the Bankruptcy action and the failure to disclose the conveyance of those

  Declarant Rights on September 22, 2011, Defendant Michael Ross attempted to create the false

  impression that the Assignment of Declarant Rights for Rarity Enclave had not been executed


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  until after the dismissal of the bankruptcy case by signing a second, duplicative assignment on

  October 28, 2011, the day after a hearing was held for the voluntary dismissal of the Chapter 11

  bankruptcy action of VPI Company, LLC. Further, said duplicate Assignment of Declarant

  Rights was held and not recorded until November 17, 2011, three days after an Order was

  entered dismissing the VPI Company, LLC’s Chapter 11 bankruptcy action. A true copy of the

  referenced duplicate Cooperation Agreement and Assignment of Declarant Rights, signed by

  Michael Ross on behalf of VPI Company, LLC, is hereto attached as Exhibit 17.

                 C.     The Next Steps in the Multi-Party Agreement: Closing on the Bank
                        Notes and Entering Friendly Agreed Judgments Between Doukas and
                        Ross Entities.

         145.    As has been noted, at the very same time the multi-party agreement was being

  negotiated and executed between the referenced parties, the Judgment Debtors were being

  sanctioned for various discovery violations.     In fact, within four days of the agreement’s

  execution by Mr. Macri, Mr. Ross and Mr. Doukas and on behalf of their respective entities, Mr.

  Stravato personally appeared before Judge Guyton for a hearing on September 26, 2011,

  concerning Mr. Stooksbury’s first motion for a default judgment.

          146. In the days and weeks following the filing of Judge Guyton’s opinion on

  September 28, 2011, recommending entry of a default judgment because of the Judgment

  Debtors’ willful discovery abuse (Doc. 185 in the 2009 Federal RICO case), the Defendants

  referenced above continued to commit acts in furtherance of the Illegal Rarity Conveyance

  Enterprise and Conspiracy and, in fact, expanded the scope of their scheme to involve other

  persons and entities in their fraudulent effort to render the Judgment Debtors judgment proof.




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         147.    On October 14, 2011, Mr. Doukas changed the principal office address of Raposo

  Realty, LLC, from Mr. Ross’ offices at 1010 William Blount Drive in Maryville, TN, to “19202

  Cloister Lake Lane, Boca Raton, FL 33498”; the registered agent of the entity was also changed

  to be United Corporate Services, Inc., in Nashville.

         148.    In accordance with the multi-party agreement referenced above and the

  agreements executed between the parties to said agreement on September 22, 2011, Defendants

  Tennessee Land and Lakes and James Macri subsequently closed on the acquisition of the First

  Bank note encumbering Rarity Enclave.

         149.    The foreclosure previously scheduled by First Bank was then allowed to proceed,

  James Macri was the only bidder at the foreclosure, and Mr. Macri bought the property

  comprising the Rarity Enclave during the foreclosure for $500,000 on behalf of Tennessee Land

  and Lakes.

         150.    Thereafter, with the knowledge and consent of Mr. Ross and VPI Company, LLC,

  agents for Mr. Macri, Mr. Ross, Tennessee Land and Lakes, and VPI Company, LLC, prepared

  the paperwork to enable Tennessee Land and Lakes to be substituted for First Bank in the Knox

  County Chancery action referenced above in order to facilitate the entry of an agreed judgment

  between Tennessee Land and Lakes, LLC, against VPI and Mr. Ross.

         151.    On November 21, 2011, an Agreed Judgment was entered in favor of Tennessee

  Land and Lakes, LLC against VPI and Mr. Ross for $3,940,514.95, plus interest of $45,342.91.

  Mr. Ross agreed to this Judgment for the purpose of facilitating the fraudulent conveyances

  described herein, as he understood that the resulting deficiency judgment was going to be

  assigned to his designee, Athena of SC, LLC, in accordance with the multi-party agreement


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  previously executed between Mr. Ross, Mr. Macri, and Mr. Doukas. A true copy of this agreed

  judgment is hereto attached as Exhibit 18.

         152.    Subsequently, in accordance with the understanding and terms of the parties to the

  referenced multi-party agreement and after Athena of SC, LLC, had paid Tennessee Land and

  Lakes, LLC, for the SunTrust notes encumbering Rarity Bay, the judgment referenced in

  paragraph 160 was assigned to Athena of SC, LLC, by Tennessee Land and Lakes, LLC, on

  November 28, 2011. A true copy of the assignment is hereto attached as Exhibit 19.

         153.    Mr. Ross agreed to pay Mr. Macri’s legal bill for the “Rarity Enclave” suit. See

  the e-mail exchange between Mr. Ross and Mr. Macri, hereto attached as Exhibit 20.

         154.    On November 28, 2011, in accordance with the referenced multi-party agreement

  and in furtherance of the Illegal Rarity Conveyance Enterprise and Conspiracy, Athena of SC,

  LLC, Mr. Ross’ attorney’s designee, acquired the SunTrust notes referenced above from

  Tennessee Land and Lakes, LLC, by assignment. In doing so, Athena paid Tennessee Land and

  Lakes the same amount Tennessee Land and Lakes had paid SunTrust for those notes, other than

  several days’ worth of interest during the period of time between Tennessee Land and Lakes’

  acquisition of the notes from SunTrust and Athena’s acquisition of the notes from Tennessee

  Land and Lakes. A true copy of the fully executed Note Sale and Assignment Agreement is

  hereto attached as Exhibit 21; a true copy of documents and e-mails pertaining to the closing of

  this component of the deal is hereto attached as collective Exhibit 22.

         155.    Funds to pay the balance due to Tennessee Land and Lakes, LLC, were

  apparently paid by two wire transfers – one evidently sent by Ted Doukas, through an entity of

  his called “Efastos Corp.,” to “Orchard Investment, Inc.,” an agent or member of Tennessee


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  Land and Lakes, LLC, in the amount of $580,000, and another sent by Mr. Ross’ attorney, Mr.

  Stravato, apparently to the same entity, in the amount of $701,195.48. Copies of wire transfer

  request forms reflecting these amounts are hereto attached as collective Exhibit 23.

         156.    Based upon information and belief, a significant part, if not all, of the

  consideration given for the assignments of the SunTrust notes by Tennessee Land and Lakes to

  Mr. Ross’ designee, Athena of SC, LLC, was either provided by and/or was secured by Mr. Ross

  and/or entities controlled by Mr. Ross. To the extent any consideration for Athena’s acquisition

  of the SunTrust notes was provided directly or indirectly by an entity controlled by Mr. Doukas,

  such consideration was provided only because Mr. Ross and/or entities controlled by Mr. Ross

  had either advanced those funds or had secured those funds as part of the Illegal Rarity

  Conveyance Enterprise and Conspiracy described herein.

         157.    Further, and regardless of the immediate or most direct source of some or all of

  the funds which were used to pay for Athena’s acquisition of the SunTrust notes from Tennessee

  Land and Lakes, LLC, all of said funds were paid pursuant to the multi-party agreement

  referenced above, a key component of which was the agreement between Mr. Doukas and Mr.

  Ross that they would: (a) work together going forward to operate and profit from the Judgment

  Debtors’ assets at Rarity Bay and elsewhere; and (b) transfer substantially all of the Judgment

  Debtors’ assets at Rarity Bay and elsewhere to entities controlled by Mr. Doukas and/or other

  entities controlled by Mr. Ross in order to hinder, delay or defraud Mr. Stooksbury.

         158.    Mr. Doukas’ and Mr. Ross’ agreement as referenced in paragraph 164 is reflected

  in said parties’ (and their entities’) course of dealing and communications after Tennessee Land




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  and Lakes, LLC, transferred the SunTrust notes to Athena of SC, LLC, in exchange for the

  Declarant’s Rights at Rarity Enclave.

         159.    In late November of 2011, just after Athena paid Tennessee Land and Lakes for

  the SunTrust notes, in accordance with the multi-party agreement referenced above, and in

  furtherance of the Illegal Rarity Conveyance Enterprise and Conspiracy overall, agents for

  Tennessee Land and Lakes, James Macri, Tellico Lake Properties, L.P., LTR Properties, Inc.,

  Michael Ross, and Athena of SC, LLC, and Ted Doukas prepared the paperwork to allow

  friendly agreed judgments to be entered between Athena, Tellico Lake Properties, LP, LTR

  Properties, Inc., and Michael L. Ross.

         160.    Accordingly, just after the date of the assignment of the SunTrust – LTR note by

  Tennessee Land and Lakes, LLC, to Athena of SC, LLC, an agreed judgment was entered in

  Knox County Circuit Court on November 30, 2011, in favor of Athena of SC, LLC, against LTR

  Properties, Inc. and Michael L. Ross, based upon a “Complaint On Promissory Note And

  Guaranties” filed the same day, in a case styled as Athena of SC, LLC, Plaintiff v. LTR

  Properties, Inc. and Michael L. Ross, Defendants, Knox County Circuit Court No. 3-623-11; the

  amount of the judgment for the alleged deficiency on the note was $1,100,604.82, plus interest

  and attorneys’ fees. A true copy of the Complaint and Agreed Judgment is hereto attached as

  collective Exhibit 24.

         161.    Similarly, on November 30, 2011, Athena of SC, LLC, entered into a second

  Agreed Judgment with Mr. Ross – this one in favor of Athena against Tellico Lake Properties,

  L.P. and Mr. Ross, based on a Complaint filed the same day in Knox County Circuit Court as

  docket number 1-624-11. The amount of the Agreed Judgment was $6,627,157.31, plus interest


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  and attorneys’ fees. A true copy of the Complaint and Agreed Judgment is hereto attached as

  collective Exhibit 25.

         162.   Accordingly, in exchange for transferring the Declarant Rights at Rarity Enclave

  to Tennessee Land and Lakes, LLC, outside of the bankruptcy proceeding and payment of

  approximately $1,560,000, Mr. Ross, through his designee Athena of SC, LLC, and its owner,

  Ted Doukas, secured the entry and assignment of friendly agreed judgments against Mr. Ross

  and three of his entities – LTR Properties, Inc., Tellico Lake Properties, LP, and VPI Company,

  LLC (as well as himself), with a total combined face amount of approximately eleven million

  dollars, more than seven times the consideration paid for the notes by multiple wire transfers

  from Mr. Ross’ attorney’s trust account and Mr. Doukas’ entity, Efastos Corp.

         163.   Additionally, it is noteworthy that prior to the multi-party agreement being

  consummated on September 22, 2011, in which the Declarant’s Rights at Rarity Enclave were

  exchanged for the bank notes and agreed judgments to enable and facilitate the various

  fraudulent conveyances and agreements that were executed by the Defendants during the months

  that followed, the parties to the multi-party agreement, themselves or through agents of theirs,

  had been previously advised by VPI Company, LLC’s bankruptcy counsel on September 16,

  2011, that the United States Bankruptcy Court’s permission would have to be sought and

  obtained prior to such a deal being done. See the e-mail exchanges on September 16, 2011,

  between counsel for VPI Company, LLC (through its Chief Manager Michael Ross), and counsel

  for James Macri and Tennessee Land and Lakes, LLC, a true copy of which is hereto attached as

  collective Exhibit 26.




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         164.   Indeed, as referenced above, the parties not only went forward with the deal on

  September 22, 2011, without obtaining permission from the Court, the parties endeavored to

  conceal their transaction until after the pending bankruptcy proceedings had been dismissed.

         165.   Plaintiff specifically states that the parties’ consummation of the multi-party

  agreement without the consent of the United States Bankruptcy Court and without disclosure to

  the Court was intentional and violated 18 U.S.C. § 152, as well as 18 U.S.C. §§ 1341 and 1343.

         166.   Accordingly, each individual communication and act committed during the course

  of the multi-party agreement, including but not limited to those specifically referenced herein,

  constitutes a separate predicate act in violation of the Racketeer Influenced and Corrupt

  Organizations Act, 18 U.S.C. §§1961, et seq.

         167.   Further, because the multi-party agreement formed the foundation which enabled

  and facilitated the subsequent fraudulent conveyances and agreements by the Defendants which

  were made as part of the Illegal Rarity Conveyance Enterprise and Conspiracy between

  September of 2011 and the present, many of which are specifically outlined below, all of said

  Defendants’ transactions and agreements are inextricably interrelated and flow from the

  execution of the fraudulent multi-party agreement. In this manner, each fraudulent conveyance

  and agreement executed by Defendants during and after the execution of the multi-party

  agreement constitutes a violation of 18 U.S.C. §§ 152, 1341, and 1343, as well as 18 U.S.C. §§

  1962(c) and (d).




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         D.     Fraudulent Conveyances Using As Pretexts the Agreed Judgments
                Arising Out of the Multi-Party Agreement

                1.   Fraudulent Conveyances by Rarity Management Company, LLC

         168.    After the Declarant’s Rights for Rarity Enclave had been exchanged for the

  discounted SunTrust Notes and the various judgments referenced above in the weeks that

  followed the filing of Judge Guyton’s Report and Recommendation on September 28, 2011,

  recommending to the District Court that a default judgment be entered against the Judgment

  Debtors for willful discovery abuse (Doc. 185), Defendants Micheal Ross, Ted Doukas, Rebecca

  Jordan, Patricia Ross, Evelyn Ross, Giselle Doukas, and other Defendants herein proceeded to

  engage in fraudulent conduct, to execute fraudulent agreements, and to attempt to use the entry

  of the agreed judgments referenced above as a pretext for executing a series of fraudulent

  conveyances and transfers over the next several months in an effort to hinder, delay and defraud

  Mr. Stooksbury.

         169.    All of the conduct generally referenced in paragraph 168 above by the Defendants

  was committed in accordance with the goals and intentions of the parties to the referenced multi-

  party agreement, and in furtherance of the Illegal Rarity Conveyance Enterprise and Conspiracy,

         170.    For example, in what was a thinly veiled effort to use the Courts and the

  fraudulent agreed judgments as an artifice, Defendants Michael Ross, Rebecca Jordan, and Ted

  Doukas, through entities controlled by them, transferred numerous parcels of property at Rarity

  Bay worth millions of dollars, including the Rarity Bay golf course, the Rarity Bay club, the

  Rarity Bay club house, the Rarity Bay boat docks, and numerous other lots and parcels, to

  entities controlled by Ted Doukas and/or Michael Ross.



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         171.      When the fraudulent agreed judgments were entered and/or assigned to Athena of

  SC, LLC, on November 28, 2011, as part of the multi-party agreement, Rarity Management

  Company, LLC, an entity 100% owned by Judgment Debtor Rebecca Jordan, owned the Rarity

  Bay golf course, the Rarity Bay club house, the Rarity Bay boat docks, numerous other lots and

  parcels at Rarity Bay, and several properties outside of Rarity Bay.

         172.      Because the fraudulent agreed judgments obtained as a result of the multi-party

  agreement were entered against entities other than Rarity Management Company, LLC -- Tellico

  Lake Properties, LP, LTR Properties, VPI Company, LLC, and Michael Ross individually –

  some of the next steps in the Illegal Rarity Conveyance Enterprise and Conspiracy involved

  transferring the property referenced in paragraph 171 from Rarity Management Company, LLC,

  to entities that were defendants in the fraudulent agreed judgments, including Tellico Lake

  Properties, LP, and Michael Ross.

         173.      Accordingly, on or about December 19, 2011, approximately three weeks after the

  entry of the agreed judgments referenced above, Rarity Management Company, LLC,

  fraudulently conveyed the following property to Tellico Lake Properties, LP, for no

  consideration:

         a.        The Rarity Bay golf course, the Rarity Bay club house, and the Rarity Bay boat

  docks – true copies of the deeds used to make these fraudulent conveyances are hereto attached

  as collective Exhibit 27;

         b.        Numerous other lots and parcels at Rarity Bay -- true copies of the deeds used to

  make these fraudulent conveyances are hereto attached as collective Exhibit 28; and




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         c.     Certain other parcels owned by Rarity Management Company, LLC – true copies

  of the deeds used to make these fraudulent conveyances are hereto attached as collective Exhibit

  29.

         174.   At or near the same time, for the same fraudulent purposes in connection with the

  fraudulent agreed judgments, and as part of the Illegal Rarity Conveyance Enterprise and

  Conspiracy, Rarity Management Company, LLC, transferred numerous parcels of property to

  Michael Ross for no consideration; true copies of the deeds used to make these fraudulent

  conveyances are hereto attached as collective Exhibit 30.

         175.   Additionally, at or near the same time, as part of the Illegal Rarity Conveyance

  Enterprise and Conspiracy, and for the purpose of hindering, delaying or defrauding Mr.

  Stooksbury, Rarity Management Company, LLC, fraudulently conveyed numerous parcels to

  M&D Ross Rentals without consideration, for the use and personal benefit of Michael Ross,

  Evelyn Ross, and Patricia Ross and with said Defendants’ knowledge and consent; true copies of

  the deeds used to make these fraudulent conveyances are hereto attached as collective Exhibit

  31.

         176.   Additionally, at or near the same time, as part of the Illegal Rarity Conveyance

  Enterprise and Conspiracy, and for the purpose of hindering, delaying or defrauding Mr.

  Stooksbury, Rarity Management Company, LLC, fraudulently conveyed property to Likos of

  Tennessee, Inc., an entity controlled by Defendants Giselle Doukas and Ted Doukas, without

  legitimate or sufficient consideration, for the use and personal benefit of said Defendants, and

  with said Defendants’ knowledge and consent. True copies of the deeds used to make these

  fraudulent conveyances are hereto attached as collective Exhibit 32.


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                 2.    Fraudulent Conveyances by other Defendants

         177.    In addition to the property transfers by Rarity Management Company, LLC,

  referenced above, following the execution of the multi-party agreement, and the recommendation

  by Judge Guyton of a default judgment against the Judgment Debtors, other Defendants herein

  fraudulently conveyed, transferred, or encumbered property during this same general time

  period, including but not limited to Defendants HPD Properties, LLC, Michael Ross, Evelyn

  Ross, and other Defendants as noted below.

         178.    Mr. Stooksbury states that the purpose of the transactions generally referenced in

  paragraph 177 was to hinder, delay, or defraud Mr. Stooksbury as part of the Illegal Rarity

  Conveyance Enterprise and Conspiracy, either by: (a) conveying such property and assets into

  the names of associations or entities other the Judgment Debtors in the 2009 Federal RICO case;

  or (b) conveying such property and assets to Michael Ross and/or the entities named as

  defendants in the fraudulent agreed judgments entered in late November of 2011, such that the

  property and assets could then be transferred to or encumbered by a Doukas entity for the mutual

  personal benefit of Defendants Ted Doukas, Giselle Doukas, Michael Ross, Evelyn Ross,

  Patricia Ross and Rebecca Jordan (and entities controlled by them).

         179.    One example of this type of transaction is the set of conveyances by Defendant

  HDP Properties, LLC, an entity controlled at all relevant times by Michael Ross, which are

  reflected in the deeds hereto attached as collective Exhibit 33.

         180.    Mr. Stooksbury affirmatively states that HDP Properties, LLC, a Wyoming entity

  set up by Mr. Ross to control and shield certain properties in Tennessee, was a sham entity that




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  was the instrumentality and alter ego of Mr. Ross, such that its business structure should be

  disregarded.

         181.    As these deeds reflect, Mr. Ross had previously conveyed properties into HDP

  Properties, Inc., and then once the multi-party agreement was signed, the referenced

  recommendation of a default judgment had been made, and the various related conduct was

  occurring as part of the Illegal Rarity Conveyance Enterprise and Conspiracy, Mr. Ross

  fraudulently conveyed the properties referenced in paragraph 179 for no consideration and for

  the purpose of hindering, delaying or defrauding Mr. Stooksbury.

          3. The Fraudulent Forbearance Agreement Between Mike Ross and Ted Doukas

         182.    On December 15, 2011, shortly after the exchange of fraudulent consideration as

  part of the multi-party agreement, the entry of the fraudulent agreed judgments, and many of the

  other events referenced above and in furtherance of the same enterprise and conspiracy,

  Defendant Michael Ross and Ted Doukas, through Athena of SC, LLC, entered into a

  “Forbearance Agreement,” purportedly based on the friendly agreed judgments referenced

  above. A true copy of said Forbearance Agreement is hereto attached as Exhibit 34.

         183.    Based expressly on the three fraudulent agreed judgments improperly obtained in

  late November of 2011 as part of the multi-party agreement, the language of the Forbearance

  Agreement purports to grant Athena a security interest in certain named entities, including

  Tellico Lake Properties, LP, and LTR Properties, Inc., and also purports to assign to Athena of

  SC, LLC distributions of income, profits, dividends and other payments due to Michael Ross

  from Rarity Management Company, LLC. (At that time, as well as all relevant times, Rarity

  Management Company, LLC, was owned entirely by Defendant Rebecca Ross Jordan).


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         184.   Additionally, based on those same fraudulent agreed judgments as they relate to

  Michael Ross individually, the same Forbearance Agreement purports to grant Athena of SC,

  LLC, security interests in the property and all assets of numerous entities based on Michael

  Ross’ ownership interest in them (in addition to the entities subject to the fraudulent agreed

  judgments, referenced in paragraph 183):     OR Properties, LLC, RM Company, Inc., RRT

  Properties, LLC, Tellico Communities, Inc., WFD Company, Inc., RCCA Company, Inc., PM

  Properties of Tennessee, L.P., PM Properties of Tennessee, LLC, PM Properties #2 of

  Tennessee, L.P., PM Properties #2 of Tennessee, LLC, PM Properties #3 of Tennessee, L.P., and

  PM Properties #3 of Tennessee, LLC. Plaintiff specifically alleges that the grant of these

  security interests purportedly pursuant to the friendly agreed judgments referenced above were

  fraudulent, lacked any legitimate consideration, and were intended to hinder, delay and defraud

  Mr. Stooksbury with regard to Mr. Stooksbury’s claims in the 2009 Federal RICO case.

         185.   Mr. Ross and Mr. Doukas, through Athena, entered into the Forbearance

  Agreement and with the assistance of James Macri and Tennessee Land and Lakes, LLC,

  through their counsel, in furtherance of the multi-party agreement, as part of the ongoing

  relationship between Mr. Ross, Mr. Doukas, Mr. Macri and entities controlled by them which

  continued for several months after the multi-party agreement was executed (well beyond the date

  of Judgment in the 2009 Federal RICO case), and in furtherance of the Illegal Rarity Conveyance

  Enterprise and Conspiracy. See, e.g., the e-mails exchanged between these parties and their

  agents concerning, in part, the Forbearance Agreement and the interplay between that agreement

  and the involuntary bankruptcy filed against Michael Ross by a third party in late December of




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  2011, as well as other issues, which reflect the parties’ ongoing relationship during that time

  period; these e-mails are hereto attached as collective Exhibit 35.

         186.     As has been stated previously, an important component of the multi-party

  agreement referenced above, as well as a central component of the Illegal Rarity Conveyance

  Enterprise and Conspiracy overall, was the agreement between Mr. Ross and Mr. Doukas, their

  agents, their various entities, and their relatives that they would work together going forward as

  an association, joint venture and/or joint enterprise to operate and profit from assets at Rarity

  Bay, as well as other assets, by conveying substantially all of the assets controlled by the

  Judgment Debtors to entities controlled by Mr. Doukas and/or Ted Doukas’ wife, Giselle

  Teixeira (also known as Giselle Doukas), and/or other Defendants while allowing all of them to

  benefit either directly or indirectly from operations of the assets.

         187.     Accordingly, despite the appearance said Defendants attempted to create by

  executing the various judgments and agreements during the subject time period, including the

  Forbearance Agreement, Mr. Ross in fact retained the ability to control and manipulate the

  various entities and assets referenced in the Forbearance Agreement after the Agreement’s

  execution, as has been reflected by the conduct and dealings of the parties since the Agreement

  was executed.

         188.     For example, in an e-mail exchange between Mr. Ross and Jim Macri on

  December 20, 2011 – five days after the Forbearance Agreement was signed between Mr. Ross

  and Mr. Doukas / Athena, Mr. Ross wrote Mr. Macri and said: “Jim, I’m thinking about starting

  collection efforts on the attached notes, your thoughts, Mike.”        The notes attached were

  promissory notes made payable to LTR Properties, Inc. – one of the entities specifically


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  referenced in the December 15, 2011, Forbearance Agreement. LTR Properties, Inc. is also one

  of the parties to the friendly agreed judgments referenced above. A true copy of this e-mail and

  the attachment it references is hereto attached as collective Exhibit 36.

            4.   The Fraudulent Conveyances of the Rarity Bay Golf Course, Club House,
                 and Boat Docks to American Harper Corporation

         189.    Following the execution of the Forbearance Agreement and the transfers of the

  Rarity Bay golf course, the Rarity Bay club house, the Rarity Bay boat docks, and numerous

  other lots and parcels at Rarity Bay and elsewhere by Rarity Management Company, LLC, to

  Tellico Lake Properties, LP, and others in December of 2011, as referenced above, Defendants

  Michael Ross, Ted Doukas, and James Macri, themselves and through their agents, spent several

  weeks attempting to determine the best scheme to transfer all of the referenced Rarity Bay

  property to an entity ostensibly controlled by Ted Doukas and then executing various documents

  in an effort to get that accomplished.

         190.    As the Defendants’ course of dealing reflects, these transfers were an integral part

  of the Illegal Rarity Conveyance Enterprise and Conspiracy, as it was the intention of the

  individual Defendants and their related entities from the outset for the Rarity Bay golf course, the

  Rarity Bay club house, the Rarity Bay boat docks, the Rarity Bay club, and numerous Rarity Bay

  lots and parcels to be transferred, assigned or encumbered fraudulently by entities ostensibly

  controlled by Ted Doukas for the mutual benefit of Ted Doukas, Giselle Doukas, Michael Ross,

  Evelyn Ross, Patricia Ross and Rebecca Ross (as well as entities controlled by them).

         191.    On January 2, 2012, a draft deed for the golf course was circulated by counsel for

  James Macri and Tennessee Land and Lakes, LLC, to: Ted Doukas, Mr. Doukas’ counsel Gary

  Goldstein, Michael Ross, and Mr. Ross’ counsel. The e-mail is entitled “Golf Course Deed to

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  American Harper Corp.” and states that it “is not a quit-claim deed because I felt it was essential

  that consideration be transferred between the parties.” The e-mail then references how the

  consideration “will be very closely scrutinized by the Department of Revenue” and discusses

  approximately how much in property taxes will be due when the deeds are recorded. Reference

  is also made to 2010 property taxes being delinquent and counsel’s assumption that the overdue

  taxes would be paid when the transfer was made. A true copy of the referenced e-mail is hereto

  attached as Exhibit 37.

         192.    On January 4, 5 and 8, 2012, several e-mails were exchanged between counsel for

  Mr. Macri, Michael Ross, and Ted Doukas regarding what entity would operate the golf course

  after the transfer of the property from Tellico Lake Properties, LP, to American Harper

  Corporation.   Mr. Ross wrote that he had “talked to Ted” and that “rather than doing a lease, he

  wants American Harper assuming the membership rights and obligations from Tellico Lake

  Properties and Rarity Management Company” and then states: “I assume we will need an

  agreement to accomplish this, please advise.” Mr. Shanks then asks: “Is American Harper going

  to just hire Rarity to run the golf course?” Mr. Ross then responds, “I think it probably makes

  sense for American Harper to become the operator, but I’m open for your thoughts.” Mr.

  Doukas then writes: “I think this is the best way.” On January 8, 2012, Mr. Ross wrote Mr.

  Shanks, with a copy to Mr. Doukas, stating that “the golf course deed needs to wait on the

  assumption of the membership plan agreement.” True copies of these e-mails are hereto attached

  as collective Exhibit 38.

         193.    Subsequently, as is reflected in e-mail exchanges between Mr. Shanks, Mr. Ross,

  and Mr.Doukas dated January 28, 2012, and January 31, 2012, Mr. Shanks forwarded draft deeds


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  for the conveyance of the Rarity Bay golf course to Mr. Ross and Mr. Doukas on January 28,

  2012, but subsequently asked them not to use the deeds he had prepared because of the entry of

  the default judgment against the Judgment Debtors on January 30, 2012: “Since the Stooksbury

  judgment has been recorded, I think that enormously complicates Ted buying the golf course and

  the transaction needs to be re-thought. While I cannot tell you want to do, I do not wish for you

  to use the deed I prepared given the new set of circumstances. I have also told Ted and am

  copying him with this e-mail.” True copies of these e-mails are hereto attached as collective

  Exhibit 39.

         194.    On March 20, 2012, after the jury trial and the entry of judgment against

  Judgment Debtors (including Tellico Lake Properties, LP, and Michael Ross), Tellico Lake

  Properties, LP, through Michael Ross, recorded “Quitclaim Deeds” transferring the Rarity Bay

  golf course, the Rarity Bay club house, and the Rarity Bay boat docks to American Harper

  Corporation, an entity owned by Ted Doukas that is a related entity to Athena of SC, LLC,

  another Doukas entity. The deeds state that they were “prepared by: Tellico Lake Properties,

  LP,” and state that the consideration exchanged for the conveyances was “-0-.” True copies of

  those deeds are hereto attached as collective Exhibit 40.

         195.    The deeds referenced in paragraph 201 conveyed 47 tracts of real property

  comprising approximately 251.411 acres with property tax values of $11,123,100 and are the

  same or substantially the same as the deeds conveyed by Rarity Management Company, LLC, to

  Tellico Lake Properties, LP, on December 19, 2011, for no consideration, which are referenced

  in paragraph 180. These tracts include the entire Rarity Bay golf course and clubhouse, three

  tracts of real property, the boat docks, and several residential lots.     At the time of this


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  conveyance, these tracts were subject to the Plaintiff’s state court lien lis pendens, as well as the

  recorded Judgment Liens of this Court based on the judgments entered in the 2009 Federal RICO

  Case.

          196.    The conveyances referenced in paragraphs 201 and 202 themselves constitute

  fraudulent conveyances because they were made in an effort to hinder, delay and defraud Mr.

  Stooksbury and Mr. Stooksbury’s claims in the 2009 Federal RICO case, and also were made as

  part of the scheme that was the subject of the multi-party agreement referenced above, as well as

  the Illegal Rarity Conveyance Enterprise and Conspiracy.

          5.      The Fraudulent Conveyance of Assets of Tellico Lake Properties, LP
                  Pursuant to the March 20, 2012, “Agreement”

          197.    Also on March 20, 2012, an agreement was signed between Michael Ross and

  Ted Doukas, purporting to transfer “all of the real and personal property” of Tellico Lake

  Properties, LP, to American Harper Corporation, “a Nevada Corporation.” The agreement:

  specifically references the agreed judgment entered November 28, 2011, against Tellico Lake

  Properties, LP, in favor of Athena of SC, LLC; states that American Harper will “assume the

  existing obligation and liability of Tellico Lake Properties to the Rarity Bay Country Club

  Membership; and attaches a list of office equipment, computers, and other property which

  purports to be transferred. A true copy of this purported agreement is hereto attached as Exhibit

  41.

               6. The Fraudulent Conveyance of Rarity Bay Declarant’s Rights and the
                  Depletion of Cashflow and Waste of Assets by American Harper Corporation

          198.    On March 27, 2012, Rarity Management Company, LLC, amended the

  Declarant’s rights at Rarity Bay to transfer those rights to Tellico Lake Properties, LP. The


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  agreement is signed on behalf of Rarity Management Company, LLC, by Rebecca Ross Jordan

  and on behalf of Tellico Lake Properties, LP, by Michael Ross. A true copy of the agreement is

  hereto attached as Exhibit 42.

         199.    On March 30, 2012, an e-mail was sent out to the Rarity Bay Property Owners

  which advised the property owners that while the Club assets had been transferred to a new

  ownership entity, “Mr. Ross is expected to remain in a consulting capacity.” A true copy of this

  e-mail is hereto attached as Exhibit 43.

         200.    On April 1, 2012, in furtherance of the Illegal Rarity Conveyance Enterprise and

  Conspiracy, American Harper Corporation nominally became the operator of Rarity Bay.

  However, all of the employees who formerly worked at Rarity Bay for the various Ross entities,

  including Rebecca Ross Jordan and others, continued to work in the same offices, doing

  essentially the same jobs for the same pay.

         201.    During the calendar year 2012, Plaintiff alleges that Mr. Ross and Mr. Doukas

  improperly took significant amounts of money out of cash flow from various aspects of Rarity

  Bay operations, including but not limited to the operations of the Rarity Bay golf course, club,

  property owners’ association, and boat slips.

         202.    Because of the cash flow generated by the lessees’ payments for use of the boat

  slips, there was more than a sufficient amount of funds available each month to pay for all of the

  expenses for the boat slips, including but not limited to a promissory note that had been taken out

  on the property with United Community Bank.

         203.    However, instead of attempting to obtain permission from United Community

  Bank for the purported transfer of the boat slips and then maintaining the payments due on the


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  bank note, Mr. Ross and/or Mr. Doukas used a significant amount of the cash flow for other

  purposes and allowed the property to go into default. Thereafter, United Community Bank

  initiated foreclosure proceedings.

         204.    Plaintiff specifically contends that Mr. Doukas and Mr. Ross, through their

  respective entities, have allowed and are continuing to allow assets at Rarity Bay and elsewhere

  to be wasted, including but not limited to the Rarity Bay Golf Course, the Rarity Bay boat slips,

  and the Rarity Bay Club. Plaintiff affirmatively states that said Defendants are engaging in this

  conduct because they know that their conduct is fraudulent, they expect the conveyances

  referenced herein to be set aside by the Court at some point in time, and they want to take and

  convert all of the cash and resources they can before that occurs.

         205.    Further, Plaintiff specifically states that the referenced conduct on the part of Mr.

  Doukas and Mr. Ross, through their agents and business entities, has unjustly enriched some of

  the other Defendants herein, including Mr. Doukas’ and Mr. Ross’ relatives, including but not

  limited to Giselle Doukas, Evelyn Ross and Rebecca Ross Jordan.

         206.    Plaintiff states that the conveyances and agreements referenced as Exhibits 40, 41,

  and 42 above are fraudulent conveyances because they were made in an effort to hinder, delay

  and defraud Mr. Stooksbury and Mr. Stooksbury’s claims in the 2009 Federal RICO case and

  because they were made in furtherance of the Illegal Rarity Conveyance Enterprise and

  Conspiracy.

            7.   Fraudulent Conveyances of Assets of LTR Properties, Inc., to Ted Doukas /
                 Athena of SC, LLC

          207.   Based on the multi-party agreement and the fraudulent agreed judgments

  referenced above, Defendants Ted Doukas and Mike Ross have conspired to allow Athena of SC,

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  LLC, to obtain nominal control of LTR Properties, Inc., and its assets through the execution of a

  series of agreements as a means for attempting to put the assets of LTR Properties, Inc., beyond

  the reach of execution by Mr. Stooksbury and, at the same time, to enable Mr. Doukas and Mr.

  Ross to have the use and benefit of those assets.

          208.   As previously noted, on or about December 15, 2011, Athena of SC, LLC,

  purported to obtain a security interest in all of the assets and property of LTR Properties, Inc.

          209.   On February 24, 2012, Athena of SC, LLC, filed an execution in Knox County

  Circuit Court, docket number 3-623-11. The execution requested a levy against a note from

  RPM Assets, LLC to LTR Properties, Inc.; a 2006 Ford truck; and, numerous items of golf

  course maintenance equipment. The execution paperwork was forwarded by the Court Clerk to

  Blount County on the day the jury returned its verdict for punitive damages, March 1, 2012.

          210.   Also on March 1, 2012, Mr. Ross and Mr. Doukas executed a “Pledge Of Stock

  Of LTR Properties, Inc. and Option To Retain Stock between Michael Ross and Athena of S.C.,

  LLC.”

          211.   On March 5, 2011, in a Chapter 11 bankruptcy proceeding initiated by Mr. Ross

  without the requisite authority on behalf of Tellico Landing, LLC (in United States Bankruptcy

  Court for the Eastern District of Tennessee as case number 3:11-bk-33018), Mr. Ross signed a

  Disclosure Statement, purportedly on behalf of the debtor, Tellico Landing, LLC, asserting:

          LTR Properties, Inc., has had its assets executed upon through judicial process by
          Athena of SC, LLC ("Athena"). Ted Doukas is the principal of Athena. Mr.
          Doukas is an experienced developer and investor based in both Florida and New
          York. He will form a new company, NEWCO, that will use LTR's former assets
          for the benefit of the property owners, creditors, and the debtor. He is committed
          to both the current lot owners and future owners at Rarity Pointe that all amenities
          will be made available on a timely basis and be of a quality consistent with the
          Rarity Pointe development. NEWCO will assume the existing contractual

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         obligations of LTR under the Rarity Pointe Club Membership Plan. To the extent
         requested, and if requested, by NEWCO, Mike Ross has agreed to be available to
         it for consulting on an as needed basis. NEWCO shall continue the successful
         management of the Rarity Pointe Community Association, Inc., and will use the
         proven experience and professional sales track record of the Rarity Sales and
         Marketing team which was directly responsible for Rarity Pointe's early sales
         successes.

         212.    The bankruptcy action referenced above was subsequently dismissed by the Court

  on Mr. Stooksbury’s motion based on Mr. Ross not having had the requisite authority to

  commence the action.

         213.    On March 21, 2012, an Allonge And Assignment Of Notes, an Assignment of

  Mortgage, and an Assignment of Membership Interest were executed between LTR Properties,

  Inc. and Athena of SC, LLC; each of these agreements constitutes a fraudulent conveyance.

         214.    On April 20, 2012, without an appropriate basis or authority to do so, Athena of

  SC, LLC, purportedly “as assignee of LTR Properties, Inc.,” filed suit against RPM Assets, LLC,

  and Mitchell Jones, in Knox County Chancery Court, no. 182631-2.

         215.    On May 1, 2012, the Execution issued on March 1, 2012, was returned by the

  Blount County Sheriff to the Clerk. The document contains the following information:

         OFFICER’S RETURN (other than wage garnishment); executed as follows:
         (OR) executed by LEVYING on the following described property [then
         handwritten] “Promissory Note – RPM Assets – LTR Properties.” On this 8 day
         of March, 2012. [Signature Captain Randall Merks] with the handwritten
         notation: “May 1, 2012 - Return to court per plaintiff’s attorney - levied property
         returned to defendant (see receipt) 5/1/2012 [Signature of Captain Randall Merks]
         - Promissory Note was only item found in Blount County.”

         216.    True copies of the documents referenced in paragraphs 217, 220, 221 and 222 are

  hereto attached as collective Exhibit 44.




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          217.   On May 11, 2012, Athena of SC, LLC, initiated foreclosure proceedings on

  eleven (11) Rarity Bay condominiums owned by LTR Properties, Inc. This foreclosure was

  subsequently enjoined by the United States District Court pending the completion of the

  Receiver’s investigation as part of the post-judgment proceedings in the 2009 Federal RICO

  case.

          218.   Despite the assignments, agreements, executions, and other steps taken by Mr.

  Doukas, through his entities, LTR Properties has at all times remained in the de facto control of

  Mr. Ross.

          219.   This is evident from an e-mail exchange between Mr. Ross, Gary Goldstein (Mr.

  Doukas’ lawyer), and Lynn Tarpy on March 30, 2012, in which Mr. Ross writes: “Lynn/ Garry

  (sic), there might be an opportunity to do a deal between Athena and WindRiver with LTR

  cooperation by me and leave Stooksbury out flapping in the wind. Let’s discuss.” (emphasis

  added). A true copy of that e-mail is hereto attached as Exhibit 45.

          220.   Mr. Stooksbury affirmatively states that the agreements, encumbrances, and

  conveyances referenced in paragraphs 207 through 217 above are all improperly based on the

  fraudulent multi-party agreement and the fraudulent agreed judgments referenced herein.

  Accordingly, all such conveyances are fraudulent and constitute additional overt acts as a part of

  the Illegal Rarity Conveyance Enterprise and Conspiracy.

          E.     Other Related Improper Conduct in the Illegal Rarity Conveyance
                 Enterprise and Conspiracy

          221.   Also in furtherance of the Illegal Rarity Conveyance Enterprise and Conspiracy,

  during relevant times, Mr. Ross, with the consent of Defendant Rebecca Ross Jordan, operated

  and controlled an entity called LTR Marina, LLC, in a manner allowing Mr. Ross to receive cash

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  and profits from its operations. Plaintiff specifically states that Mr. Ross was at all times the

  owner in fact of LTR Marina, LLC, and that Mr. Ross had simply formed said entity and named

  Ms. Jordan as its Chief Manager and/or Managing Member as a pretext; at no time did Ms.

  Jordan give any consideration for any ownership interest in LTR Marina, LLC.

         222.    Plaintiff affirmatively states that LTR Marina, LLC, was a sham entity that was

  used, at all relevant times, as the instrumentality of Mr. Ross and that accordingly, said business

  entity should be disregarded and all cash flow and assets of said entity should be deemed to be

  the property of Mr. Ross, such that all such funds and assets should be identified and used to

  satisfy the Judgment in the 2009 Federal RICO case.

          223.   Another set of transactions and communications in the Illegal Rarity Conveyance

  Enterprise and Conspiracy involving Mr. Ross, Mr. Doukas and/or Mrs. Doukas, through entities

  controlled by them, was the purported conveyance of certain apartments and other assets to

  entities controlled by Mr. Doukas during the relevant time period.

         224.    These assets include, but are not limited to, some apartments previously owned by

  Vonore Properties, LLC.       On May 10, 2011, Vonore Properties, LLC, had quitclaimed

  apartments to Rarity Management Company, LLC, for no consideration. Then, on December 29,

  2011, Defendants Michael Ross and Rebecca Jordan caused or allowed those same apartments to

  be conveyed to Likos of Tennessee, Inc., the entity set up the previous month by Defendants Ted

  Doukas and Giselle Doukas.

         225.    Mr. Doukas and Mrs. Doukas formed Likos of Tennessee, Inc. in November of

  2011 as a conduit for the acquisition of property pursuant to the Illegal Rarity Conveyance

  Enterprise and Conspiracy. Plaintiff specifically states that these conveyances were fraudulent,


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  lacked legitimate or sufficient consideration, were part of the Illegal Rarity Conveyance

  Enterprise and Conspiracy, and were made for the purpose of preventing Mr. Stooksbury from

  collecting on his claims in the 2009 Federal RICO case. True copies of some of the e-mails and

  deeds exchanged by the Defendants involved in the multi-party agreement and their agents

  pertaining to this transaction are hereto attached as collective Exhibit 46.

         226.    These e-mails reflect that counsel for Tennessee Land and Lakes, LLC, prepared

  the deed for the conveyance and that concern was expressed to Ted Doukas regarding the lack of

  adequate consideration for the transfer.

         227.    Additionally, Plaintiff affirmatively states that Likos of Tennessee, Inc. is and has

  been, at all relevant times, a sham entity that has been the instrumentality of Ted Doukas and

  Giselle Doukas. Accordingly, the corporate formalities should be disregarded and all acts and

  omissions on the part of Likos of Tennessee, Inc., should be deemed the acts and omissions of

  Ted Doukas and Giselle Doukas.

         228.    Further, Giselle Doukas’ service as a nominal owner of Likos of Tennessee, Inc.,

  constitutes conduct committed in furtherance of the Illegal Rarity Conveyance Enterprise and

  Conspiracy, rendering her separately and independently liable to the Plaintiff based on the causes

  of action stated below.

         229.    At all relevant times, Raposo Realty, LLC, was acting in concert with Defendants

  Michael Ross and Ted Doukas in furtherance of the Illegal Rarity Conveyance Enterprise and

  Conspiracy.

         230.    Plaintiff specifically asserts that the conduct of Defendants Michael Ross and Ted

  Doukas with regard to the lots owned in the name of the Doukas entity Raposo Realty, LLC, as


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  has been referenced in paragraphs above, was part of the Illegal Rarity Conveyance Enterprise

  and Conspiracy.

         231.    Specifically, based upon information and belief, the only funds actually paid by

  Raposo Realty, LLC, for the subject lots was one year’s worth of interest, paid in advance and no

  further payment has been made on the bank note by Mr. Doukas, Mr. Ross, or any entity

  controlled by either of them, including Raposo Realty, LLC. Further, it appears that said parties

  do not intend to make any payments on those notes and have no intention of honoring their

  guarantees.

          232.   Further, Mr. Stooksbury affirmatively pleads that Raposo Realty, LLC, was at all

  relevant times a sham entity that was grossly undercapitalized and was used as the

  instrumentality of Mr. Doukas in furtherance of the Illegal Rarity Conveyance Enterprise and

  Conspiracy. Despite Mr. Doukas and/or Mr. Ross having sufficient funds available to them to

  pay the bank note on these lots, as evidenced by the purchases of other bank notes as referenced

  in this Complaint, said parties have defaulted on the notes, have failed to pay homeowners’

  association dues, and yet have maintained ownership of the property in bad faith. Essentially,

  said parties have attempted to use the formation of this business entity and the implicit threat of

  the costs of holding them accountable in the court system as a means of avoiding payment while

  continuing to maintain title to the property. Accordingly, such entity should be disregarded and

  all conduct and liabilities of Raposo Realty, LLC should be found to be the conduct and resulting

  liabilities of Ted Doukas and/or Michael Ross individually.




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         233.    At all relevant times, another Ted Doukas entity, Breton Equity Company Corp.,

  was acting in concert with Defendants Michael Ross and Ted Doukas in furtherance of the

  Illegal Rarity Conveyance Enterprise and Conspiracy.

         234.    Plaintiff specifically asserts that in December of 2011, after Defendants Michael

  Ross, Ted Doukas, and James Macri had entered into the multi-party agreement referenced in

  paragraphs 85 through 86 above and after Defendants Michael Ross and Ted Doukas, as part of

  that scheme, entered into the friendly judgments referenced in paragraphs above in November of

  2011, Defendants Michael Ross and Tellico Lake Properties, LP, entered into an agreed

  judgment with First American Title Insurance Company in Blount County Chancery Court action

  no. 2010-113 with no intention of paying said judgment.

         235.    Instead, it was Mr. Ross’ intention (and the intention of Tellico Lake Properties,

  LP) to enter into said agreed judgment for the purpose of relying on the fraudulent agreed

  judgments entered in November of 2011 as a pretext for becoming judgment proof as part of the

  Illegal Rarity Conveyance Enterprise and Conspiracy.

         236.    Subsequently, Defendants Michael Ross and Ted Doukas devised a scheme

  through which Mr. Doukas would purchase the First American Title judgment at a steep discount

  and then attempt to use the judgment to hinder, delay and defraud Mr. Stooksbury following the

  judgment rendered against the Judgment Debtors in the 2009 Federal RICO case.

         237.    On or about April 30, 2012, after entities controlled by Ted Doukas had already

  entered into the conveyances, transactions and agreements referenced above which by their

  express terms purported to give a nearly seven million dollar agreed judgment to Athena of SC,

  LLC, against Tellico Lake Properties, LP, and, further, purported to transfer all of the assets of


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  Tellico Lake Properties, LP, to American Harper Corporation (through the March 20, 2012,

  Agreement), Mr. Doukas bought the First American Title judgment for approximately one-fifth

  of its value through an entity he owned called Breton Equity Company Corp.

         238.    Based on the objective circumstances and Mr. Doukas’ course of conduct since

  purchasing the First American Title judgment, it is clear that Mr. Doukas, in collaboration with

  Mr. Ross, intended to use the judgment for the purposes of attempting to hinder, delay and

  defraud Mr. Stooksbury and the judgment previously obtained by Mr. Stooksbury in the 2009

  Federal RICO case.

         239.    Following the filing of the Receiver’s report in the 2009 Federal RICO case

  which indicated that Mr. Doukas and Mr. Ross had been involved in fraudulent conveyances,

  Mr. Doukas, through Breton Equity Company Corp., filed a petition in the United States

  Bankruptcy Court in Knoxville seeking to put Tellico Lake Properties, LP, into a Chapter 7

  bankruptcy. See United States Bankruptcy Court, In Re: Tellico Lake Properties, LP, no. 3:12-

  bk-34034. Petition [Doc. 1].

         240.    Mr. Stooksbury specifically contends that Mr. Doukas, himself and through

  Breton Equity Company Corp., filed the referenced Chapter 7 bankruptcy petition for the

  purpose of hindering, delaying and/or defrauding Mr. Stooksbury. Indeed, the letter written by

  Gary Goldstein, counsel for Mr. Doukas, on October 10, 2012, reflects Mr. Doukas’ desire to

  hinder or delay, if not block altogether, the ongoing, extensive investigation of the Receiver into

  the conduct of Mr. Doukas, Mr. Ross, and their related entities and to attempt to force a new

  “Trustee” to start over with new counsel. Gary Goldstein writes: “As you know, an involuntary

  petition in bankruptcy was filed by Athena of SC, LLC (sic) against Tellico Lake Properties,


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  LLC . . . . all actions . . . are stayed. Once an Order for Relief has been entered, an independent

  Trustee, most likely a panel Trustee, will be appointed to liquidate the assets of the Chapter 7

  debtor, and process the claims. The Trustee, who will not be the current Receiver, will select

  counsel who shall not be the Receiver’s counsel.” A true copy of Mr. Goldstein’s letter is hereto

  attached as Exhibit 47.

         241.    Further, Mr. Stooksbury affirmatively states that Breton Equity Company Corp.

  was at all relevant times a sham entity that was grossly undercapitalized and was used as the

  instrumentality of Mr. Doukas in furtherance of the Illegal Rarity Conveyance Enterprise and

  Conspiracy. Accordingly, such entity should be disregarded and all conduct and liabilities of

  Breton Equity Company Corp. should be found to be the conduct and resulting liabilities of Ted

  Doukas and/or Michael Ross.

         242.    In furtherance of the Illegal Rarity Conveyance Enterprise and Conspiracy, during

  relevant times and including the time period from January 1, 2012, through the present, Mr.

  Ross, with the consent of Defendant Evelyn Ross, operated and controlled Rarity Bay Realty,

  Inc., in a manner allowing Mr. Ross to receive cash and profits from Rarity Bay operations.

  Plaintiff specifically states that Mr. Ross was at all times the owner in fact of Rarity Bay Realty,

  Inc. and that Mr. Ross had simply put the stock of Rarity Bay Realty, Inc., in the name of

  someone else in order to hinder, delay and defraud Mr. Stooksbury and Mr. Stooksbury’s claims

  in the 2009 Federal RICO case.

         243.    As part of Mr. Ross’ effort to shield funds and assets improperly, Mr. Ross

  initially gave all of the stock in Rarity Bay Realty, Inc., to his niece, Defendant Rebecca Ross

  Jordan, for no consideration.


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         244.    Subsequently, in recognition of Ms. Jordan’s exposure for liability to Mr.

  Stooksbury in the 2009 Federal RICO case, Mr. Ross caused Ms. Jordan’s interest in Rarity Bay

  Realty, Inc., to be transferred to Mr. Ross’ wife, Evelyn Ross, for no consideration.

         245.    Plaintiff affirmatively states that Mr. Ross has at all relevant times maintained

  control of Rarity Bay Realty, Inc.

         246.    Further, Plaintiff affirmatively states that Rarity Bay Realty, Inc., was a sham

  entity that was used, at all relevant times, as the instrumentality of Mr. Ross and that

  accordingly, said business entity should be disregarded and all cash flow and assets of said entity

  should be deemed to be the property of Mr. Ross, such that all such funds and assets should be

  identified and used to satisfy the Judgment in the 2009 Federal RICO case.

         247.    Further, the conduct of Evelyn Ross in serving as a nominal owner of Rarity Bay

  Realty has been committed in furtherance of the Illegal Rarity Conveyance Enterprise and

  Conspiracy, rendering her separately and independently liable to the Plaintiff based on the causes

  of action stated below.

         248.    Accordingly, Plaintiff specifically states that the corporate structure of Rarity Bay

  Realty Company, Inc. should be disregarded and Rarity Bay Realty Company, Inc. should be

  treated as a sham entity, such that Defendants Michael Ross and Evelyn Ross are jointly and

  severally liable to the Plaintiff for its conduct and participation in the referenced illegal

  enterprise and conspiracy.

         249.    Plaintiff affirmatively states that Rarity Bay Realty Company, Inc., at all relevant

  times, has been operated for the purpose of wrongfully attempting to shield income and assets

  from the reach of Mr. Stooksbury’s claims in the 2009 Federal RICO case.


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         250.    Similarly, also as part of Mr. Ross’ effort to shield funds and assets improperly,

  Mr. Ross established a shell entity called Consumer Research Company and put the company in

  his wife’s name.

         251.    Based upon information and belief, as part of the Illegal Rarity Conveyance

  Enterprise and Conspiracy, Mr. Ross has used Consumer Research Company as a conduit and/or

  pass-through for improperly obtained funds and assets as a means of attempting to hinder, delay

  or defraud Mr. Stooksbury.

         252.    Plaintiff affirmatively states that Mr. Ross has at all relevant times maintained

  actual control of Consumer Research Company and that Mrs. Ross, though complicit in the

  arrangement, had no significant role in the operation of the entity.

         253.    Further, Plaintiff affirmatively states that Consumer Research Company was a

  sham entity that was used, at all relevant times, as the instrumentality of Mr. Ross and that

  accordingly, said business entity should be disregarded and all cash flow and assets of said entity

  should be deemed to be the property of Mr. Ross, such that all such funds and assets should be

  identified and used to satisfy the Judgment in the 2009 Federal RICO case.

         254.    Further, the conduct of Evelyn Ross in serving as a nominal owner of Consumer

  Research Company has been committed in furtherance of the Illegal Rarity Conveyance

  Enterprise and Conspiracy, rendering her separately and independently liable to the Plaintiff

  based on the cases of action stated below.

         255.    Accordingly, Plaintiff specifically states that the corporate structure of Consumer

  Research Company should be disregarded and Consumer Research Company should be treated

  as a sham entity, such that Defendants Michael Ross and Evelyn Ross are jointly and severally


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  liable to the Plaintiff for its conduct and participation in the referenced illegal enterprise and

  conspiracy.

         256.    Similarly, and as part of Defendant Ted Doukas’ participation in the subject

  Illegal Rarity Conveyance Enterprise and Conspiracy, Mr. Doukas used an entity of his known as

  Efastos Corp. in furtherance of the operation of illegal enterprise and conspiracy.

         257.    Based upon information and belief, as part of the Illegal Rarity Conveyance

  Enterprise and Conspiracy, Mr. Doukas transferred funds from Efastos Corp. to John Stravato’s

  trust account as part of the series of transactions comprising the multi-party agreement generally

  described in paragraphs 85 through 86 (and elsewhere) above.

         258.    Accordingly, Efastos Corp. was an active participant in the subject Illegal Rarity

  Conveyance Enterprise and Conspiracy and committed two or more predicate acts during

  relevant times in furtherance of the goals of the enterprise.

         259.    Further, Plaintiff affirmatively states that Efastos Corp., was a sham entity that

  was used, at all relevant times, as the instrumentality of Mr. Doukas and that accordingly, said

  business entity should be disregarded and all cash flow and assets of said entity should be

  deemed to be the property of Mr. Doukas.

         260.    Additionally, on account of said entity’s participation in the Illegal Rarity

  Conveyance Enterprise and Conspiracy, all such funds and assets of Efastos Corp. used to

  facilitate the multi-party agreement should be deemed to be forfeited by Mr. Doukas and Efastos

  Corp. pursuant to the equitable doctrine of unclean hands.

         261.    Plaintiff specifically contends that the conduct referenced in paragraph 256

  through 260 above was committed with an intent to hinder, delay or defraud Mr. Stooksbury.


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         262.    Plaintiff asserts that Patricia Ross personally committed wrongful acts and is

  individually liable to Plaintiff on account of Ms. Ross having facilitated, having signed

  documents, and having assented to the transfer of assets of the Estate of Dale Ross in furtherance

  of the Illegal Rarity Conveyance Enterprise and Conspiracy.

         263.    Further, Plaintiff contends that Ms. Ross, in her individual capacity and during the

  calendar years 2011 and 2012, as well as other times during the pendency of the 2009 Federal

  RICO case, collected, received and deposited rental income and other income from the Judgment

  Debtors and deposited that income into accounts in names other than those of the Judgment

  Debtors which in turn hindered, delayed and defrauded Mr. Stooksbury.

         264.    Plaintiff contends that each act committed by Ms. Patricia Ross as has been

  generally referenced in paragraphs 262 and 263 constitutes a separate predicate act in furtherance

  of the subject illegal enterprise and conspiracy.

         265.    Plaintiff avers that Defendant Michael Ross used several business entities as his

  instrumentalities for the purpose of shielding income and transferring assets as part of the Illegal

  Rarity Conveyance Enterprise and Conspiracy, including but not limited to: Defendants NJS

  Development Company, LLC; WH McCollum & Co., LLC; Pine Mountain Partnership; Pine

  Mountain Properties, GP; RMT Cottages, LLC; RMT Properties, LLC; RMT Properties, LP;

  RMT Village Shops, LLC; CC Properties, LLC; RFD, LLC; Vonore Properties, LLC; and

  Tellico Communities, LLC.

         266.    Based upon information and belief, Mr. Ross transferred property and assets to

  and/or from each entity referenced in paragraph 265 above during the relevant time period in an

  effort to hinder, delay or defraud Mr. Stooksbury.


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          267.   Based upon information and belief, each such entity referenced in paragraph 266,

  above, committed wrongful predicate acts at relevant times in furtherance of the subject illegal

  enterprise and conspiracy.

          268.   Further, Plaintiff affirmatively states that each entity referenced in paragraph 266

  above was a sham entity that was used, at all relevant times, as the instrumentality of Mr. Ross

  and that accordingly, each such business entity should be disregarded and all cash flow and

  assets of each such entity should be deemed to be the property of Mr. Ross, such that all such

  funds and assets should be identified and used to satisfy the Judgment in the 2009 Federal RICO

  case.

          269.   Based upon information and belief, Defendant RM Company, LLC, a Judgment

  Debtor, fraudulently conveyed property to a third party in furtherance of the subject Illegal

  Rarity Conveyance Enterprise and Conspiracy and in an effort to hinder, delay or defraud Mr.

  Stooksbury.

          270.   Specifically, Mr. Ross, as owner of RM Company, LLC, gave a third party an

  executed quitclaim deed purporting to transfer 12 lots in McMinn County, Tennessee, being lots

  63, 64, 65, 80, 81, 82, 83, 89, 90, 91, 93, and 95 in Phase One of Rarity Meadows.

          271.   Based on the friendly, pre-arranged agreed judgments and various agreements

  purportedly entered between Mr. Ross and Mr. Doukas and entities owned and controlled by

  them as are generally referenced herein, as well as similar agreements which may be discovered

  either during the continuing investigation of this matter or during discovery in this case, Mr.

  Ross, his relatives, and their various entities who are Judgment Debtors in the 2009 Federal

  RICO case purport to have conveyed all of their real property, personal property, and assets to


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  Mr. Doukas’ entities.     Mr. Stooksbury contends that all such conveyances were and are

  fraudulent conveyances which were made without adequate consideration, with no consideration,

  or with illegal or invalid consideration which should be found to be fraudulent.

         272.    More specifically, based on the multi-party agreement and agreed judgments

  referenced above, Ted Doukas and Michael Ross have ostensibly transferred the assets of

  Judgment Debtors / Ross entities Tellico Lake Properties, LP, LTR Properties, Inc., Rarity

  Management Company, LLC, and Michael Ross personally to various entities formed by Mr.

  Doukas, including but not limited to Athena of SC, LLC, and American Harper Corporation, as a

  means of putting the assets of the Judgment Debtors / Ross entities beyond the reach of Mr.

  Stooksbury as a creditor. Mr. Doukas and Mr. Ross have essentially been using the various

  Doukas entities which are Defendants herein as their instrumentalities in a de facto joint

  enterprise and/or joint venture for the benefit of themselves and their relatives, including Giselle

  Doukas, Evelyn Ross, Rebecca Ross Jordan, and/or Patricia Ross.

         273.    The transfers referenced herein were accomplished in conjunction with and in

  concert with other transfers by and between the Defendants herein and related parties for the

  purpose of hindering, delaying and defrauding Mr. Stooksbury; and most, if not all of these

  transfers were accomplished through the use of the mail, phone lines, wires, and/or the internet.

  This conduct was masterminded by and on behalf of Mr. Ross, Mr. Macri and Mr. Doukas and

  their agents and was facilitated by relatives of Mr. Ross and Mr. Doukas as well as by various

  business entities owned and/or controlled by them, including but not limited to the business

  entity Defendants named herein.




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         274.    Mr. Doukas and Mr. Ross have continued to conspire to work together, through

  their agents, to conjure up documents in an effort to establish a paper trail that might cover their

  Illegal Rarity Conveyance Enterprise and Conspiracy, even after the appointment of a Receiver

  on or about May 23, 2012, as part of post-judgment proceedings in the 2009 Federal RICO case;

  an example of this conduct is an e-mail sent from an attorney for Mr. Doukas, Gary Goldstein,

  which was then forwarded to Mr. Ross on July 12, 2012 at 3:50 p.m., and states:

                 I did complete redraft. See the enclosed in pdf and word format.
                 We have to show real consideration and fight about the allocation
                 later. That way if the Receiver gets a copy which we can assume
                 he will you still have an argument that it was not a fraudulent
                 conveyance from Rebecca Jordan.

                 This also helps to provide an explanation for Mark [Brown] to
                 relate to the Judge what happened.

                 Try and get it signed ASAP and return to me for Mark

  A true copy of this e-mail is hereto attached as Exhibit 48.

                       COUNT I: RICO VIOLATIONS 18 U.S.C. § 1962 –
                            BANKRUPTCY FRAUD, WIRE FRAUD

           Predicate Acts Forming A Pattern Of Conduct Committed During the Course Of
                            The Subject Enterprise and Conspiracy

         275.    The contentions stated in paragraphs 1 through 274 above are incorporated in this

  Count by this specific reference.

         276.    As set forth in detail above, Defendants, themselves and through their agents,

  engaged in an illegal and fraudulent scheme to hinder, delay and defraud Mr. Stooksbury and his

  claims in the 2009 Federal RICO case by executing various agreements, conveyances, and

  agreed judgments.



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         277.    A central component of the multi-party agreement referenced in paragraphs 85

  and 86 (and elsewhere) was the improper conveyance of a key asset of VPI Company, LLC, the

  Declarant’s Rights at Rarity Enclave, outside said entity’s pending bankruptcy action when the

  asset had not been disclosed to the United States Bankruptcy Court.

         278.    Moreover, as has been discussed in greater detail above, the Declarant’s Rights at

  Rarity Enclave were exchanged during the referenced multi-party agreement for the transfer of

  the SunTrust notes and the expected deficiency judgment against VPI Company, LLC to a

  designee of Mr. Ross’ attorney in the 2009 Federal RICO case.

         279.    The rights and assets exchanged during the multi-party agreement between Mr.

  Ross, Mr. Macri, Mr. Doukas, and entities controlled by them served as the predicate and

  foundation for numerous wrongful acts thereafter by these individuals and entities, as well as

  related individuals and entities, many of which are outlined above.

         280.    Said conduct, along with other conduct described herein, was committed on a

  regular and consistent basis by and between the Defendants and their agents and comprised a

  significant part of the pattern of predicate acts committed during the operation of the subject

  Illegal Rarity Conveyance Enterprise and Conspiracy.

         281.    The acts and omissions comprising the pattern of illegal and improper conduct

  generally referenced above were the proximate and legal cause of significant damages and losses

  sustained by individuals such as Mr. Stooksbury.

         282.    Said conduct, along with the other conduct described herein, was committed on a

  regular and consistent basis during the pendency of the 2009 Federal RICO case, and in




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  particular between August of 2011 through the present, and comprised a significant part of the

  pattern of predicate acts committed during the operation of the subject enterprise and conspiracy.

          283.    Plaintiff specifically pleads that the wrongful conduct described in the factual

  allegations contained in each of the legal actions referenced above, as well as the wrongful

  conduct as is reflected in the attached exhibits to those actions, are predicate acts which

  comprises the illegal enterprise and conspiracy described herein.

          284.    As a direct and proximate result of said wrongful and fraudulent conduct which

  was committed by and/or which is attributable to the Defendants herein, Mr. Stooksbury suffered

  economic damages and losses which are described more fully below.

          285.    Each of the Defendants herein is a “person" as defined by 18 U.S.C. § 1961(3),

  because each is an entity capable of holding a legal or beneficial interest in property.

          286.    Defendants herein who participated in the activities of the Illegal Rarity

  Conveyance Enterprise and Conspiracy described in this Complaint are collectively an

  "enterprise" within the meaning of 18 U.S.C. § 1961(4), which allows groups of individuals

  associated in fact though not a legal entity to be an enterprise. The enterprise had: a common

  purpose, described infra; an ongoing structure or organization supported by personnel or

  associates with continuing functions or duties; relationships among those associated with the

  enterprise; and longevity sufficient to permit those associates to pursue the enterprise’s purpose.

          287.    Upon information and belief, a hierarchy and joint venture by and between

  Defendants Michael Ross, Ted Doukas and James Macri existed as leaders, while the other

  individual Defendants named herein participated in and/or facilitated the implementation of the

  enterprise’s affairs.


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         288.   The enterprise is distinct from the pattern of racketeering activity in which the

  Defendants have engaged and the enterprise is distinct from any one defendant.

         289.   Each of the Defendants knowingly agreed to facilitate, to operate or to manage the

  enterprise.

         290.   The activities of the enterprise and/or the predicate acts of racketeering affected

  interstate commerce during the relevant time period, including but not limited to the time period

  between August of 2011 through the present. As described infra, the enterprise consisted of the

  conveyance and/or transfer of assets without adequate consideration, or with improper or

  insufficient consideration, for the purpose of hindering, delaying and defrauding Mr. Stooksbury

  and Mr. Stooksbury’s claims and judgment in the 2009 Federal RICO case.

         291. The Defendants engaged in a pattern of racketeering activity, as defined in §1961(5),

  because two or more acts of racketeering activity were committed, the last of which occurred

  within two years after the commission of a prior act of racketeering activity. Further, the

  conduct in the subject illegal enterprise and conspiracy consisted of numerous acts committed

  frequently throughout the pendency of the 2009 Federal RICO case, and in particular between

  August of 2011 and the present.

         292.   These acts were related, as has been described supra, because: (1) the same or

  similar purpose was to hinder, delay and defraud Mr. Stooksbury; (2) the same or similar results

  are that Mr. Stooksbury has been hindered, delayed and defrauded in attempting to collect his

  judgment in the underlying 2009 Federal RICO matter; (3) the same or similar participants are

  Defendants Ross, Doukas, Macri, the relatives of Mr. Ross and Mr. Doukas who are individual

  Defendants herein, and the various business entity Defendants herein in which the individual


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  Defendants have an interest, all of whom participated in the activities described in this

  Complaint and constitute the enterprise; (4) the enterprise has the same victim, which is Mr.

  Stooksbury; and (5) the same or similar methods of commission are, for example, that members

  of the enterprise and their agents would execute agreements, plans and documents with an intent

  to hinder, delay and defraud Mr. Stooksbury.

         293.    The acts referenced herein were continuous, both because a series of related acts

  were committed which extended over a substantial period of time and because there is the thread

  of continuity given that the predicate acts of racketeering were a regular way the individual

  Defendants (and their related business entities) were conducting business and enjoying the

  profits of the illegal enterprise and conspiracy.

         294. The wrongful conduct described above in furtherance of the illegal Rarity

  Conveyance Enterprise and Conspiracy constitutes a pattern of predicate acts of the racketeering

  activity attributable to the Defendants, on account of Defendants’ conduct.

         295.    Defendants committed mail fraud, wire fraud, and/or bankruptcy fraud by

  committing the predicate acts of racketeering activity referenced above as part of a scheme to

  defraud, which resulted in a foreseeable injury to Mr. Stooksbury and which acts are indictable

  under 18 U.S.C. §§ 1341, 1343.

         296.    As part of the fraud, Defendants committed the predicate acts and schemes

  referenced above and money or property was an object of those schemes. Upon information and

  belief, Defendants and/or their agents used the United States mail, the internet, wire, and/or fax

  machines on a regular basis during said time period in interstate commerce to further the scheme.

         297.    For example, when Mr. Stravato, as agent for Mr. Ross and/or Mr. Doukas, wired


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  the $1,560,000 for Mr. Shanks (in two installments on two separate occasions) to hold “in

  escrow,” Defendants Ross, Macri and Doukas were furthering a scheme to defraud; money or

  property was an object of that scheme; and they used mail and/or wire to further the scheme.

         298.    Similarly, when the various e-mails were exchanged in furtherance of the illegal

  enterprise that have been referenced above, each act of sending or receiving each such e-mail

  constituted a predicate act in furtherance of the illegal enterprise and conspiracy.

         299.    Each of the various predicate acts by Defendants was committed well within ten

  years of each other and were committed on a regular, periodic basis, such that they are

  sufficiently related to form a pattern of racketeering activity.

         300.    As examples of the conduct on the part of Defendants Macri, Ross, Doukas, and

  their referenced respective business entity Defendants which constitutes bankruptcy fraud,

  Defendants committed the following predicate acts of racketeering activity as part of a scheme to

  defraud, which resulted in a foreseeable injury to others and which acts are indictable under 18

  U.S.C. §152.

         301. During the course of negotiations regarding the First Bank Note encumbering

  Rarity Enclave as set forth above, Defendants James Macri, Michael Ross, Ted Doukas, said

  Defendants’ agents, and the business entities controlled by them had actual knowledge that VPI

  Company, LLC, was in Chapter 11 bankruptcy in the United States District Court for the Eastern

  District of Tennessee, and that the Covenants, Conditions and Restrictions for Rarity Enclave

  (“the Declarant’s Rights for Rarity Enclave”) were owned by VPI Company, LLC, and were a

  valuable asset belonging to VPI Company, LLC.




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         302.    Nevertheless, none of said Defendants disclosed to the United States Bankruptcy

  Court the fact that they were exchanging and conveying the Declarant’s Rights for Rarity

  Enclave as part of their multi-party agreement negotiated and executed in September of 2011,

  outside of the bankruptcy proceedings.

         303.    To the contrary, the parties to the multi-party agreement took affirmative steps to

  conceal the conveyance of the Declarant’s Rights at Rarity Enclave to Tennessee Land and

  Lakes until after the pending bankruptcy action of VPI Company, LLC, had been dismissed.

         304.    In violation of 18 U.S.C. § 152, Defendants knowingly concealed from officers of

  the Court the Declarant’s Rights of Rarity Bay in connection with the VPI, LLC bankruptcy case

  and, further, had actual or constructive knowledge that VPI Company, LLC, through Michael

  Ross, had knowingly made one or more false entries in recorded bankruptcy filings relating to

  the property and financial affairs of VPI Company, LLC.

         305.    As has been outlined in significant detail above, Defendants engaged in a series of

  negotiations, conveyances and transfers, through various e-mails and communications over the

  phone, fax machine, internet, and wire, during their commission of the various predicate acts

  comprising the Illegal Rarity Conveyance Enterprise and Conspiracy; as a result of the illegal

  enterprise and conspiracy, Defendants transferred all or substantially all of their assets to other

  individuals or entities in derogation of Mr. Stooksbury’s claims and resulting judgment in the

  2009 Federal RICO case.

         306.    Plaintiff has standing to bring these claims because he is a person who has

  sustained injury to his business or property by reason of the Defendants’ conduct.




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         307.    Specifically, Mr. Stooksbury has a significant judgment against the Judgment

  Debtors in the 2009 Federal RICO case, including but not limited to a significant judgment

  against Defendants Michael Ross, Rebecca Jordan, Patricia Ross on behalf of the estate of Dale

  Ross, Tellico Lake Properties, LP, Rarity Management Company, LLC, LTR Properties, LLC,

  and VPI Company, LLC.

         308.    Plaintiff incorporates herein by reference the contemporaneously filed Civil RICO

  Statement.

         309.    The predicate acts referenced above occurred well within ten years of each other

  and were committed on a regular, periodic basis by and between the Defendants, such that they

  are sufficiently related to form a pattern of racketeering activity.       Each of the Defendants

  participated in, influenced, facilitated, and/or aided and abetted the transactions.

         310.    As a direct and proximate result of the wrongful and illegal conduct which was

  committed by and/or is attributable to the Defendants, Plaintiff suffered significant financial

  losses and has been prevented from collecting on the 2009 Federal RICO Judgment.

                                          18 U.S.C. § 1962(c)

         311.    The allegations in paragraphs 1 through 310 are incorporated herein by reference.

         312.    The enterprise defined in said paragraphs is an enterprise in which Defendants

  engaged; Defendants’ activities affected interstate commerce; and Defendants were employed by

  and/or were associated with said enterprise at all relevant times.

         313.    Defendants were employed by or were associated with the Illegal Rarity

  Conveyance Enterprise and Conspiracy described in this Complaint and participated in the




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  conduct of the enterprise’s affairs, either directly or indirectly, through a pattern of racketeering

  activity.

          314.   Further, Defendants’ conduct in the various predicate acts generally described

  herein which were committed in furtherance of the Illegal Rarity Conveyance Enterprise and

  Conspiracy included two or more predicate acts of bankruptcy fraud, wire fraud, and/or mail

  fraud in violation of 18 U.S.C. §§ 152, 1341, and 1343.

          315.   As direct and proximate result of said conduct, Plaintiff suffered the injuries and

  losses referenced herein.

                                         18 U.S.C. § 1962(d)

          316.   The allegations of paragraphs 1 through 315 are incorporated herein by reference.

          317.   As set forth above, the 1962(d) Defendants agreed and conspired to violate 18

  U.S.C § 1962(c). Defendants have intentionally conspired and agreed to directly and indirectly

  use or invest income that is derived from the pattern of racketeering activity described above,

  which was an interstate enterprise.

          318.   Defendants acquired or maintained interests in the enterprise through a pattern of

  racketeering activity, and conducted and participated in the conduct of the affairs through a

  pattern of racketeering activity. Defendants knew that their predicate acts were part of a pattern

  of racketeering activity and agreed to the commission of those acts to further the scheme

  described above. Accordingly, based on the acts and omissions referenced above, said conduct

  of the individual Defendants and their related business entities constitutes a conspiracy to violate

  18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).




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         319.     As a direct and proximate result of the conduct referenced above, Mr. Stooksbury

  has suffered damages and losses, including but not limited to the value of the assets of the

  Judgment Debtors which were unlawfully and wrongfully conveyed; the costs of investigating

  and prosecuting this action, which Plaintiff specifically states was foreseeable and was a direct

  consequence of the conduct of the Defendants herein; and the investment value and/or interest on

  said amounts.

                                          18 U.S.C. § 1964(c)

         320.     Because of Defendants’ violations of the Racketeer Influenced and Corrupt

  Organizations Act, 18 U.S.C. §§1961, et seq., in the manner described herein, Defendants are

  liable to Plaintiff for treble damages and all attorneys’ fees and costs in accordance with 18

  U.S.C. § 1964(c) and Plaintiff specifically requests that relief.

                     COUNT II: FRAUD ON THE COURT / VIOLATION
                              OF FEDERAL COMMON LAW

         321.     The contentions stated in paragraphs 1 through 320 above are incorporated in this

  Count by this specific reference.

         322.     The wrongful conduct of the Defendants outlined above constitutes a fraud on the

  Court in violations of federal common law.

         323.     Plaintiff specifically states that each of the Defendants and their agents in this

  action either participated in or facilitated the Illegal Rarity Conveyance Enterprise and

  Conspiracy described above.

         324.     Defendants and their agents engaged in this conduct either with the actual intent

  to commit a fraud on the United States District Court for the Eastern District of Tennessee and/or

  the United States Bankruptcy Court for the Eastern District of Tennessee or with the intent to

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  facilitate said conduct at times when the Defendants knew or should have known that their

  conduct was wrongful, illegal, and fraudulent.

          325.    By virtue of Defendants’ wrongful acts and omissions, as well as acts committed

  in furtherance of the illegal Rarity Conveyance Enterprise and Conspiracy described above, each

  Defendant herein either committed actual or constructive fraud and said fraud subverted the

  integrity of the Court itself.

          326.    Plaintiff specifically states that Defendants’ wrongful conduct was the proximate

  and legal cause of Plaintiff’s damages and losses, in that despite Defendants’ actual and/or

  constructive notice of Plaintiff’s claims in the 2009 Federal RICO case, Defendants’ conduct

  rendered the Judgment Debtors insolvent and unable to satisfy the Court’s Judgment in the

  underlying 2009 Federal RICO case.

          327.    Further, as a direct and proximate result of said conduct, Mr. Stooksbury has

  suffered damages and losses, including but not limited to the value of the assets of the Judgment

  Debtors which were unlawfully and wrongfully conveyed; the costs of investigating and

  prosecuting this action, which Plaintiff specifically states was foreseeable and was a direct

  consequence of the conduct of the Defendants herein; and the investment value and/or interest on

  said amounts.

                                   COUNT III: FRAUDULENT TRANSFER
                                         T.C.A. § 66-3-301 et. seq.

          328.    The contentions stated in paragraphs 1 through 327 above are incorporated in this

  Count by this specific reference.

          329.    Pursuant to T.C.A. § 66-3-302 the Plaintiff is a “Creditor” who has a “Claim”

  against Defendants.

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           330.   Pursuant to T.C.A. § 66-3-302, each of the Defendants was an “insider” and/or

  “affiliate” at the time of the conveyances that are outlined and referenced in the Complaint,

  supra.

           331.   Each of the transactions made and each of the obligations incurred by the

  Judgment Debtors who are Defendants herein as outlined and referenced in the Complaint,

  supra, was made or incurred with the actual intent to hinder, delay, or defraud the Plaintiff in

  violation of T.C.A. § 66-3-305(a)(1).

           332.   Additionally, each of the transactions made and each of the obligations incurred

  by the Judgment Debtors who are Defendants herein as outlined and referenced in the

  Complaint, supra, was made or incurred by the respective Defendant(s) without the Judgment

  Debtor / Defendant having received a reasonably equivalent value in exchange for the transfer or

  obligation; further, at the same time of each such transaction made and each such obligation

  incurred, said Judgment Debtor / Defendant either was engaged in or was about to engage in a

  business or a transaction for which the remaining assets of the Judgment Debtor / Defendant

  were unreasonably small in relation to the business or transaction, or said Judgment Debtor /

  Defendant intended to incur, or believed or reasonably should have believed that said Judgment

  Debtor / Defendant would incur debts beyond the debtor’s ability to pay, in violation of T.C.A. §

  66-3-305(a)(2).

           333.   With respect to each of the transactions made or obligations incurred that are

  described generally in the Complaint, supra, one or more of the following factors was present:

  the transfer or obligation was to an insider or affiliate; the Judgment Debtor retained substantial

  de facto control over the asset(s) after the transaction was made or the obligation was incurred;


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  the transfer or obligation was initially concealed; before the referenced events, the Judgment

  Debtor / Defendant had been sued; the series of transactions rendered the Judgment Debtor/

  Defendant substantially insolvent; the Judgment Debtor / Defendant had taken steps to conceal

  or transfer assets to another person or entity prior to the referenced event; the value received by

  the Judgment Debtor/ Defendant was unreasonably small and not equivalent for the particular

  transaction; and/or essential assets of the Judgment Debtor / Defendant were transferred to a

  lienor who then transferred the assets to an insider or affiliate of the Judgment Debtor /

  Defendant.

         334.    Further, each of the transactions made and each of the obligations incurred by the

  Judgment Debtors who are Defendants herein as outlined and referenced in the Complaint,

  supra, was made or incurred by the respective Defendant(s) without the Judgment Debtor /

  Defendant having received a reasonably equivalent value in exchange for the transfer or

  obligation; further, each such transaction or obligation and/or as the transactions or obligations

  involving each of the Judgment Debtors as described herein, when taken as a whole, rendered the

  Judgment Debtors substantially insolvent and, accordingly, each such transaction made or

  obligation incurred by the Judgment Debtors/ Defendants which are referenced in the Complaint,

  supra, violate T.C.A. § 66-3-306.

         335.    As a direct and proximate result of the conduct referenced above, Mr. Stooksbury

  has suffered damages and losses, including but not limited to the value of the assets of the

  Judgment Debtors which were unlawfully and wrongfully conveyed; the costs of investigating

  and prosecuting this action, which Plaintiff specifically states was foreseeable and was a direct




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  consequence of the conduct of the Defendants herein; and the investment value and/or interest on

  said amounts.

                                      COUNT IV: INJUNCTIVE RELIEF

         336.     The contentions stated in paragraphs 1 through 335 above are incorporated in this

  Count by this specific reference.

         337.     Based on the wrongful, illegal and fraudulent conduct committed by Defendants,

  the Receiver previously appointed in the 2009 Federal RICO case should be immediately

  appointed as Receiver in this related action.

         338.     Further, the Receiver should be allowed to have immediate oversight, if not

  custody and control, of any and all assets that are the subject of this action pending a final

  resolution of this case to preserve said assets and to prevent further waste of said assets, with all

  costs incurred by the Receiver in performing his work and protecting and preserving said assets

  being paid out of the Receivership.

         339.     Additionally, to the extent the Receiver does not take possession of any of the

  referenced assets, Defendants should be enjoined from wasting or dissipating any such assets,

  including but not limited to the Rarity Bay golf course, the Rarity Bay golf club, the Rarity Bay

  boat docks and other related amenities.

         340.     For these same reasons, Defendants should be required to provide promptly to the

  Receiver a full and complete accounting of their use of each asset that is part of the subject

  matter of this action, including but not limited to the Judgment Debtors’/ Defendants’ property,

  property rights, profits, and any income obtained through any operations or on account of any

  property rights.


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         341.    Defendants should be enjoined from making any sales, transfers, conveyances,

  gifts, or encumbrances of any kind with regard to any of the assets that are the subject of this

  action or assets in which any of the Judgment Debtors have any interest pending the resolution of

  this action and the full satisfaction of Plaintiff’s Judgment in the 2009 Federal RICO case.

         342.    It is appropriate for the Court to waive the bond requirement under Rule 65(c),

  because the harm as a result of issuance of the injunction can be minimized by the appointment

  of the Receiver.

         343.    If Defendants are permitted to conceal, sell, transfer, dispose, lease, assign, or

  remove money and property, Plaintiff will suffer immediate and irreparable harm because his

  chances of ever enforcing the Federal RICO Judgment will be compromised, if not eliminated.

                                COUNT V: PUNITIVE DAMAGES

         344.    The contentions stated in paragraphs 1 through 343 above are incorporated in this

  Count by this specific reference.

         345.    Plaintiff specifically states that Defendants’ conduct during the commission of the

  acts outlined above was intentional, reckless, and/or fraudulent such that punitive damages

  should be assessed against Defendants in the amount the trier of fact deems appropriate and just.

                              COUNT VI: UNJUST ENRICHMENT

         346.    The contentions stated in paragraphs 1 through 345 above are incorporated in this

  Count by this specific reference.

         347.    Regardless of whether some of the individual Defendants had actual knowledge

  of the fraud being committed by the leaders of the subject illegal enterprise and conspiracy, all of




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  the Defendants profited from the ill-gotten gain generated by the fraudulent and wrongful

  conduct that is the subject of this action.

          348.    Accordingly, Plaintiff specifically asserts pendent state law equitable claims in

  this case for unjust enrichment and states that each Defendant herein is liable to Plaintiff for the

  amount of funds, profits, and/or assets each such Defendant has enjoyed and/or used and/or

  benefited from as a result of said fraudulent and wrongful conduct.

          349.    Further, to the extent any of the ill-gotten gain generated or obtained as a result of

  the fraudulent and wrongful conduct was used to purchase life insurance policies or has been

  deposited into any investment account, 401(k) account, IRA account, or retirement account of

  any kind, any and all such funds should be found to be forfeited and paid over to the Plaintiff in

  satisfaction of Plaintiff’s damages herein.

                 COUNT VII: UNCLEAN HANDS AND EQUITABLE RELIEF

          350.    The contentions stated in paragraphs 1 through 349 above are incorporated in this

  Count by this specific reference.

          351.    Defendants should be found to have forfeited any and all interest in any asset that

  is part of the subject matter of this action, as well as any profits generated from the use of any

  such asset, pursuant to equitable principles and doctrines of equity, including but not limited to

  the doctrine of unclean hands.

          352.    For these same reasons, to the extent any Defendant may be shown to have

  invested money and/or assets during the course of any of the conduct that is the subject of this

  case and/or in furtherance of any of the predicate acts that are the subject of the Illegal Rarity




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  Conveyance Enterprise and Conspiracy, all such funds and/or assets should be deemed forfeited

  pursuant to the doctrine of unclean hands.

          353.   Plaintiff specifically contends that Ted Doukas, Mike Ross, Jim Macri, and/or any

  business entity owned and/or controlled by one or more of them should be found to have

  forfeited any and all funds used to purchase the SunTrust notes, the First Bank note, and/or any

  other note, judgment, or commercial paper in furtherance of the Illegal Rarity Enterprise and

  Conspiracy and that in equity, all such funds and any collateral, rights, or obligations associated

  with either the funds or the notes, judgments or commercial paper should be paid over to the

  Plaintiff in satisfaction of Mr. Stooksbury’s claims in the 2009 Federal RICO case.

          354.   Similarly, to the extent any Defendant may be shown to have profited from any

  funds used or any assets obtained during the course of the Illegal Rarity Conveyance Enterprise

  and Conspiracy, all such profits should be paid over to the Plaintiff in satisfaction of Mr.

  Stooksbury’s claims in the 2009 Federal RICO case pursuant to principles of equity, including

  but not limited to the doctrine of unclean hands and the doctrine of the fruit of the poisonous

  tree.

          355.   Moreover, based on the same principles of equity, to the extent any Defendant

  may be shown to have obtained any assets during the course of the operation of the Illegal Rarity

  Conveyance Enterprise and Conspiracy, all such assets should be allowed to be seized either by

  the Receiver or by the United States Marshal and sold, with the proceeds to be paid over to the

  Plaintiff in satisfaction of Mr. Stooksbury’s claims in the 2009 Federal RICO case.




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                                      PLAINTIFF’S DAMAGES

          356.   The contentions stated in paragraphs 1 through 355 above are incorporated in this

  Count by this specific reference.

          357.   As a direct and proximate result of the wrongful and illegal conduct which was

  committed by and/or attributable to the Defendants as described above, Robert T. Stooksbury has

  suffered significant financial losses and damages, which are approximately equivalent to the

  amounts awarded to Plaintiff in the 2009 Federal RICO case, plus the costs of investigating and

  prosecuting this action and pre-judgment interest.

          358.   Further, as has been referenced above, based on the RICO violations referenced

  above and in accordance with the provisions of 18 U.S.C. § 1964(c), Plaintiff seeks treble

  damages and all attorneys’ fees and costs incurred in the course of investigating and prosecuting

  this action.

          359.   Based on the Tennessee state law violations referenced above, Plaintiff is entitled

  to punitive damages in the amount the trier of fact deems appropriate and just, not to exceed

  twice the amount of Plaintiff’s compensatory damages generally referenced above.

          WHEREFORE, Plaintiff Stooksbury respectfully requests:

          1.     That process issue and be served upon the Defendants requiring them to answer

  this Complaint within the time and manner prescribed by law;

          2.     That the Receiver previously appointed in the 2009 Federal RICO case be

  immediately appointed as Receiver in this related action;

          3.     That the Receiver be allowed to have immediate oversight, if not custody and

  control, of any and all assets that are the subject of this action pending a final resolution of this


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  case to preserve said assets and to prevent further waste of said assets, with all costs incurred by

  the Receiver in performing his work and protecting and preserving said assets being paid out of

  the Receivership, and further that to the extent the Receiver does not take possession of any of

  the referenced assets, that Defendants be enjoined from wasting or dissipating any such assets,

  including but not limited to the Rarity Bay golf course, the Rarity Bay boat docks and other

  related amenities;

         4.      That the Defendants be required to provide promptly to the Receiver a full and

  complete accounting of their use of each and every asset that is part of the subject matter of this

  action, including but not limited to property, property rights, profits, and any income obtained

  through any operations or on account of any property rights;

         5.      That Defendants be found to have forfeited any and all interest in any asset that is

  part of the subject matter of this action, as well as any profits generated from the use of any such

  asset, pursuant to equitable principles and doctrines of equity, including but not limited to the

  doctrine of unclean hands;

         6.      That Defendants be enjoined from making any sales, transfers, conveyances, gifts,

  or encumbrances of any kind with regard to any of the assets that are the subject of this action or

  assets in which any of the Judgment Debtors have any interest pending the resolution of this

  action and the full satisfaction of Plaintiff’s Judgment in the 2009 Federal RICO case;

         7.      That each and every wrongful and/or fraudulent transaction and conveyance that

  is the subject of this action be set aside pursuant to T.C.A. §§ 66-3-301, et seq., be declared null

  and void, and/or be equitably reformed such that the assets that are the subject of said




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  transactions and conveyances be attached and given over to the custody and care of the Receiver

  for such purposes as the Court directs;

         8.         That any assets or funds of the Defendants or their agents which are found to have

  been used to facilitate any such wrongful and/or fraudulent transaction or conveyance, including

  but not limited to the funds used by the Defendants referenced above for the purchase of the

  SunTrust notes and the First Bank notes referenced herein, and any profits generated from the

  use of any such assets or funds, including but not limited to the sale of property and operations at

  Rarity Bay and the sale of property at Rarity Enclave, be deemed to be forfeited, paid over to the

  Receiver, and/or awarded to Plaintiff in accordance with equitable principles and doctrines of

  equity, including but not limited to the doctrine of unclean hands;

         9.         That Plaintiff recover from the Defendants, jointly and severally, full restitution

  for his compensatory and special damages, which are approximately equivalent to the amounts

  awarded to Plaintiff in the 2009 Federal RICO case, as well as the costs of investigating and

  prosecuting this subsequent, ancillary action;

         10.        That Defendants be assessed with punitive damages in the amount the trier of fact

  deems appropriate and just, not to exceed twice the amount of Plaintiff’s compensatory damages

  generally referenced above;

         11.        That Plaintiff recover all of his attorneys’ fees and costs allowable by statute or

  common law, including but not limited to 18 U.S.C. § 1964(c), as well as pre-judgment interest

  in the maximum amount allowed by law and all discretionary costs allowable pursuant to Fed. R.

  Civ. P. 54; and




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         12.     That a jury be empaneled to hear this cause and that Plaintiff be granted such

  other relief as this Honorable Court deems appropriate and just.

         Respectfully submitted this 23rd day of October, 2012.

                                                      ROBERT T. STOOKSBURY, JR.


                                                      s/Wayne A. Ritchie II_____________
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                                               Attorneys for Plaintiff Robert T. Stooksbury, Jr.


                                       Certificate of Service

          The undersigned hereby certifies that on this 23rd day of October, 2012, the foregoing
  has been electronically filed with the Clerk of Court using the CM/ECF filing system, which will
  electronically serve same on all counsel of record on this date. Additionally, a true copy of this
  document is also being served on each of the referenced Defendants, along with the Summons,
  the original Complaint, and related documents, as noted above.


                                               s/ Wayne A. Ritchie II
                                               WAYNE A. RITCHIE II




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